                        IN THE UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF ALABAMA
                                   WESTERN DIVISION

In re:                              )
                                    )
NAUQUITA L. HAMBRIGHT,              )     Bankruptcy Case No. 20-70608-JHH13
                                    )
      Debtor.                       )
____________________________________________________________________________

TITLEMAX OF ALABAMA, INC.,   )
                             )
      Plaintiff,             )
                             )
v.                           )                                Adversary Proceeding No. 20-70016-JHH
                             )
NAUQUITA L. HAMBRIGHT and    )
C. DAVID COTTINGHAM, CHAPTER )
13 STANDING TRUSTEE,         )
                             )
      Defendants.            )

                              MEMORANDUM OPINION AND ORDER

I.       Introduction and Overview1

         This is a proceeding to determine and declare the present interests of a secured party,

TitleMax of Alabama, Inc. ("TitleMax"), a chapter 13 debtor, Nauquita L. Hambright

("Hambright"), and Hambright's bankruptcy estate (the "Estate"), in and to a 2013 Dodge

Challenger (the "Vehicle"). Cross motions for summary judgment are pending before the court,

and the material facts are stipulated or undisputed. Both federal and state law are relevant to

defining the parties' and the Estate's petition date and present interests in the Vehicle. However, a



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  Citations are omitted from the introduction and overview for the reader's ease but are included elsewhere. In this
opinion, "Alabama UCC" refers to title 7 of the Code of Alabama; "Alabama Article 9A" refers to article 9A of title
7 of the Code of Alabama; "Alabama Certificate of Title Act" refers to chapter 8 of title 32 of the Code of Alabama;
"Alabama Pawnshop Act" refers to chapter 19A of title 5 of the Code of Alabama; "Bankruptcy Act" refers generally
to the Bankruptcy Acts of 1898 and 1938 or either of them; "Bankruptcy Code" refers to title 11 of the United States
Code; "Old Alabama Article 9" refers to article 9 of title 7 of the Code of Alabama (repealed eff. Jan. 1, 2002); and
"UCC" refers generally to the Uniform Commercial Code.

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single state law question predominates—under Alabama law, were the Estate's right(s) and

interest(s) in the Vehicle forfeited to TitleMax automatically, and without the necessity of any

affirmative enforcement action by TitleMax, after the bankruptcy petition date?

        The answer to this question turns on whether the Vehicle, which is in the actual possession

of Hambright, is subject to classification as a pledged good under the Alabama Pawnshop Act by

virtue of Hambright's pre-bankruptcy pledge of the Vehicle's certificate of title to TitleMax. If so,

Hambright's petition date right(s) and interest(s) in the Vehicle (which passed to the Estate on

commencement of Hambright's bankruptcy case), and not merely the Estate's petition date right(s)

and interest(s) in the Vehicle's certificate of title (if any), may be subject to the Alabama Pawnshop

Act's automatic forfeiture provision. This statute provides for the automatic transfer of all right,

title, and interest of a pawnor in and to pledged good(s) to the pawnbroker if the pawnor fails to

regain possession of the pledged good(s) by paying the secured obligation within 30 days after the

obligation's maturity (i.e., a pawnor's forfeiture of legal and equitable title to pledged good(s) is

the consequence of the pawnor's failure to timely exercise the pawnor's temporal right to redeem

the pledged good(s) from the pawnbroker).

        Importantly, a vehicle and a vehicle's certificate of title are separate property under

Alabama law, and neither possession of a certificate of title, nor the information recorded thereon,

is determinative of where title to the covered vehicle lies. In other words, absolute title to a vehicle,

in the intangible sense, is not bound up in the vehicle's certificate of title. A certificate of title's

legal significance lies in the information recorded thereon and presumptively evidenced thereby.

        There is no allegation that Hambright validly assigned (i.e., endorsed) the Vehicle's

certificate of title to TitleMax, meaning its delivery to TitleMax does not evidence an absolute title

transfer. The operative certificate merely records that TitleMax holds a first-priority lien on the



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Vehicle. A secured party's possession of a certificate of title that records the secured party as the

first lienholder is necessary to render the secured party's first-priority security interest in the subject

vehicle invulnerable to interests subsequently created by the record owner (i.e., perfected); thus,

such a certificate is not a chose in action. However, it does not follow that forfeiture of an

unendorsed certificate of title to the named lienholder—which certificate is, under the Alabama

Certificate of Title Act, the lienholder's to possess until the lienholder's interest in the vehicle is

satisfied or deemed satisfied or otherwise discharged—effects an absolute transfer of title to the

vehicle to the named lienholder if the vehicle is not also forfeited. A secured party would not

obtain a security interest in an unendorsed certificate of title, but not the vehicle covered thereby,

expecting foreclosure of the record to manifest in its ownership of the vehicle, because a certificate

of title is not a document of title under the Alabama UCC (nor is an unendorsed certificate of title

subject to classification as a bearer instrument). As such, if only the Vehicle's certificate, not the

Vehicle, is a pledged good subject to the Alabama Pawnshop Act's automatic forfeiture provision,

then the Alabama common law, Alabama UCC, and other applicable state laws are relevant to

determining the parties' respective rights in and to the Vehicle following forfeiture of the Vehicle's

certificate.

        As a matter of statutory interpretation, the plain language of the Alabama Pawnshop Act

seemingly makes quick work of the question. The Act requires a pawnbroker's possession, and a

pawnor's dispossession, of pledged good(s) at the inception of a pawn transaction. A good that

secures a pawn, but that the pawnbroker allows to remain in the possession of the pawnor until the

pawnbroker elects to exercise its post-default right to take possession, is not a pledged good under

the Alabama Pawnshop Act. And, only pledged good(s) are subject to the Alabama Pawnshop

Act's statutory, possessory lien and the Alabama Pawnshop Act's automatic forfeiture provision, a



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narrow, codified exception to the anti-forfeiture rules that undergird the Alabama common law

and the anti-forfeiture provisions of the Alabama UCC.

        Significantly, the Alabama Supreme Court has held only that a vehicle's certificate of title

is a pledged good in a title loan transaction. While some courts have concluded or assumed that

vehicles in title loan transactions also are subject to characterization as pledged goods under the

Alabama Pawnshop Act, the undersigned has not identified any binding precedent (state or federal)

that requires this court to deviate from the Alabama Pawnshop Act's plain language to classify a

vehicle in a pawnor's possession, as distinguished from the vehicle's certificate of title, as a pledged

good. Accordingly, the court answers the state law question in the negative and concludes that the

Vehicle is not a pledged good subject to the Alabama Pawnshop Act's automatic forfeiture

provision, necessitating a determination of the parties' interests in the Vehicle under other

applicable commercial laws.

        The operative pawn ticket and security agreement (the "Agreement") is signed by

Hambright and grants security interests in both the Vehicle and the Vehicle's unassigned certificate

of title to TitleMax. A written, authenticated security agreement that grants a security interest in

tangible personal property (like a vehicle) may be regarded, in Alabama, as a chattel mortgage

transferring legal title (not merely a lien) to the secured party. However, under the Alabama

common law (which governs to the extent not displaced by the Alabama UCC or another statute),

a chattel mortgagee's legal title to mortgaged chattel is (1) conditional until the debtor/mortgagor

defaults, (2) defeasible both at law and in equity until the secured party/mortgagee takes possession

of the collateral, and (3) unmerged with the debtor/mortgagor's equity of redemption (i.e., equitable

title) until this equitable property interest is extinguished by foreclosure or validly transferred to

the secured party after the loan's inception.



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       Alabama Article 9A (which applies to Alabama pawn transactions in the absence of a

conflict with the Alabama Pawnshop Act) likewise treats a secured party's security interest in a

good (like a vehicle) as something less than absolute title until foreclosure or a voluntary post-

default transfer, regardless of the form of the security device (e.g., chattel mortgage, pledge, or

conditional sale). Under Alabama Article 9A, as under the common law of chattel mortgages, a

debtor retains its rights in a mortgaged good until the secured party forecloses its security interest

in the good (by disposition or acceptance) or acquires or extinguishes the debtor's rights via an

enforceable, post-default transfer. Moreover, just as the Alabama common law voids contractual

provisions signed at a loan's inception that purport to forfeit a debtor's equity of redemption, pre-

default contractual provisions that purport to forfeit a debtor's UCC redemption or surplus rights

in a mortgaged good to a secured party, or to give effect to a pre-agreed strict foreclosure of a

mortgaged good, are void and of no force or effect under the Alabama UCC. A contractual

forfeiture, under the Alabama common law and Alabama UCC, is merely effective to render a

secured party's legal title to a mortgaged good unconditional and to give the secured party the state

law right to take possession of the mortgaged good and to foreclose its security interest in the good

in accordance with applicable law.

         Finding no conflict with the Alabama Pawnshop Act in recognizing a debtor/pawnor's

common law and UCC rights and interests in a non-pledged good (i.e., a good subject to a non-

possessory security interest), the court concludes that, under the Alabama UCC, Alabama common

law, and the Alabama Certificate of Title Act, Hambright held both record and equitable title to

the Vehicle on the bankruptcy petition date (subject to TitleMax's validly perfected, first-priority

security interest), as well as UCC surplus and redemption rights. Although the Agreement may be

construed as transferring legal title to the Vehicle to TitleMax, TitleMax's legal title to the Vehicle



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remained conditional on the petition date, as Hambright's post-maturity grace period for repaying

the secured obligation had not yet expired (and the Agreement expressly provides for forfeiture of

legal title to the Vehicle only upon expiration of this grace period). Additionally, TitleMax's legal

title had not yet indefeasibly vested at law or in equity because TitleMax had not yet repossessed

the Vehicle or foreclosed its security interest in the Vehicle.

       Because Bankruptcy Code section 362(a) enjoins affirmative enforcement action by

TitleMax, and because the Vehicle is not a pledged good subject to the Alabama Pawnshop Act's

automatic forfeiture provision, the petition date status quo is preserved. Furthermore, because

Hambright retains possession of the Vehicle and a non-temporal redemption right (i.e., a

redemption right that continues until affirmative enforcement action by the secured party, as

distinguished from a redemption right that expires if the debtor fails to take action within a

specified time period), the Estate's bundle of rights and interests in and to the Vehicle is one that

the Eleventh Circuit Court of Appeals, and Alabama bankruptcy courts, have long regarded as

functionally the equivalent of ownership under Alabama law, meaning TitleMax is the holder of a

lien on the Vehicle (as said term is defined by the Bankruptcy Code), and Hambright is entitled to

treat TitleMax as the holder of a claim secured by a lien on the Vehicle in her bankruptcy case.

       The court's conclusions are in accord with a prior decision of the undersigned's

predecessor; however, as noted above, the court's conclusions conflict with other persuasive

judicial authorities. Accordingly, this opinion discusses, in detail, the statutes, decisions, and

commercial law principles that inform this court's answer to the state law question, as well as the

court's reasons for declining to follow the conflicting persuasive authorities. If the court's answer

to the state law question is in error, a second (predominately federal law) question arises—does

the post-petition, state law forfeiture foreclose treatment of TitleMax as the holder of a secured



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claim in Hambright's pending chapter 13 bankruptcy case? The court examines but does not

answer the question, due to the posture of the parties' litigation and the related bankruptcy case (as

well as the court's answer to the aforementioned, state law question).

II.     Procedural Posture and Jurisdiction

        The plaintiff, TitleMax, commenced this adversary proceeding by filing a complaint (AP

Doc. 1) (the "Complaint") against Hambright, a chapter 13 debtor in a related bankruptcy case. In

the Complaint, TitleMax requests entry of a judgment determining and declaring that it owns the

Vehicle and that neither Hambright nor the Estate has any interest therein, apart from a bare

possessory interest. (See id., passim.)

        The Complaint is properly brought as an adversary proceeding. See Fed. R. Bankr. P.

7001(2), (9). Because the adversary proceeding implicates not only the rights of Hambright in and

to the Vehicle but the rights of the Estate and the chapter 13 trustee in Hambright's bankruptcy

case, C. David Cottingham (the "Trustee"),2 the court joined the Trustee as a party to the adversary

proceeding with the consent of TitleMax, Hambright, and the Trustee. (See AP Doc. 17.)3

        Cross motions for summary judgment in the adversary proceeding are pending before the

court. (See AP Docs. 7, 13, 17, 26, 29, 31.) In its motion, TitleMax moves for entry of a judgment

declaring that legal and equitable title to the Vehicle have merged and vested in TitleMax by

operation of the Alabama Pawnshop Act's automatic forfeiture provision. (See AP Docs. 26, 31.)

Hambright and the Trustee request entry of a judgment determining and declaring that the




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  In other words, this proceeding is in rem—it seeks to adjudicate not just the rights of TitleMax and Hambright vis-
à-vis one another but to determine and declare the nature and extent of TitleMax's rights in the Vehicle as against
Hambright, the Estate, and Hambright's other creditors.
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  Pursuant to Federal Rule 21, as made applicable by Bankruptcy Rule 7021, "[o]n motion or on its own, the court
may at any time, on just terms, add or drop a party." Fed. R. Civ. P. 21; Fed. R. Bankr. P. 7021.

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automatic forfeiture provision is inapplicable to the Vehicle and, therefore, that the Estate, not

TitleMax, owns the Vehicle subject to TitleMax's lien. (See AP Docs. 7, 29.)

       The material facts are stipulated or undisputed (see Part III, infra), and the questions

presented are purely legal. As such, this adversary proceeding is ripe for summary disposition.

See Fed. R. Bankr. P. 7056.

       This court has jurisdiction to hear this adversary proceeding pursuant to 28 U.S.C. §§ 151,

157, and 1334 and the United States District Court for the Northern District of Alabama's General

Order of Reference dated July 16, 1984, as amended by the General Order of Reference dated July

17, 1984. TitleMax, Hambright, and the Trustee also have consented to the entry of final orders

or judgment by this court. (See AP Doc. 18 at ¶ 2.)

III.   The Undisputed Facts

       In July 2019 Hambright was the sole owner of the Vehicle and held a valid certificate of

title evidencing her ownership (the "Original Certificate"). (See AP Doc. 25 at ¶ 5; AP Doc. 26 at

4; AP Doc. 29 at 1-2.) To obtain a $2,000.00 short-term (30-day), non-recourse, non-purchase

money loan from TitleMax, Hambright executed an agreement that, among other things, granted

TitleMax a security interest in her Vehicle and the Vehicle's certificate of title and provided for

Hambright's pledge of the Original Certificate. (See AP Doc. 25 at ¶ 6; AP Doc. 26 at 4; AP Doc.

29 at 2.) Hambright delivered the Original Certificate to TitleMax at the loan's inception. (See

AP Doc. 25 at ¶¶ 6-7; AP Doc. 29 at 2.)

       To comply with the perfection requirements of Alabama Article 9A (see Ala. Code § 7-

9A-311) and the Alabama Certificate of Title Act (see Ala. Code §§ 32-8-61, 32-8-62), TitleMax

relinquished the Original Certificate to the Alabama Department of Revenue and made application

for a new certificate of title recording its status as lienholder. (See AP Doc. 13, Ex. A at 2.) On



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or about September 9, 2019 (within the original 30-day loan term), the Alabama Department of

Revenue issued the requested certificate (the "Replacement Certificate"), recording TitleMax as

the first lienholder. (See AP Doc. 13, Ex. A at 2; AP Doc. 25 at ¶ 12.) No party alleges that

Hambright executed the assignment and warranty of title section (see Ala. Code § 32-8-44) of the

Original Certificate or the Replacement Certificate (i.e., there is no allegation that Hambright

endorsed either certificate).

       Hambright renewed her loan with TitleMax multiple times, with the parties treating each

renewal as a new loan. (AP Doc. 25 at ¶ 14; AP Doc. 26 at 4; AP Doc. 29 at 2.) At the time of

each renewal, Hambright paid the outstanding charges and refinanced the principal balance owed,

from time to time borrowing additional sums. (See id.) The latest renewal occurred shortly before

Hambright's bankruptcy filing, with TitleMax loaning $6,739.14 to refinance the outstanding

balance on Hambright's prior agreement (the "Loan"). (See AP Doc. 13, Ex. A at 3; AP Doc. 25

at ¶ 16; AP Doc. 26 at 4; AP Doc. 29 at 2.) The Loan is evidenced by a certain pawn ticket and

security agreement executed by Hambright in favor of TitleMax (heretofore referred to as the

"Agreement"), a copy of which is filed in the AP. (See AP Doc. 13, Ex. A at 3-9.)

       The Agreement references the Original Certificate, but generally describes the

pawned/pledged good as the Vehicle's certificate of title. (See id. at 4, ¶¶ 1, 3.) The Vehicle is not

specifically identified as a "pledged good" in the Agreement. (See id. at 3-9.) However, the

Agreement does purport to forfeit Hambright's right, title, and interest in and to the Vehicle to

TitleMax if Hambright "fail[s] to redeem the Vehicle" within 30 days of the Loan's maturity date,

and the Vehicle is described as "pledged" in a paragraph entitled "Lost Pawn Ticket". (See id. at

4, ¶¶ 6, 9.) The Loan is non-recourse—i.e., contractually, Hambright is not obligated for the Loan




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personally, and TitleMax must look to its collateral to satisfy the debt if not voluntarily repaid.

(See id. at 4, ¶ 6; AP Doc. 25 at ¶ 9.)

       The Agreement's stated maturity date is the 30th day after the date of the Loan. (See AP

Doc. 13, Ex. A at 4, ¶ 1.) Stated as an annual rate, the cost of the credit to Hambright is listed as

145.88 percent. (See id. at 3.) Failure to repay the Loan within 30 days after the maturity date is

a default under the Agreement, contractually entitling TitleMax to peaceably repossess the

Vehicle. (See id. at 4, ¶ 8.) The Agreement permits, but does not require, Hambright's voluntary

surrender of the Vehicle at any time, giving Hambright the contractual right to retain possession

until TitleMax elects its remedy of repossession. (See id. at 4, ¶ 7.) Pursuant to the Agreement,

Hambright is "liable for Vehicle damage and loss…" and holds TitleMax "harmless for all claims

and costs arising from [her] using the Vehicle, including all judgments, attorneys' fees, court costs

and expenses." (See id. at 8, ¶ 22(l); AP Doc. 25, Ex. A at 6, ¶ 22(l).)

       Five days after the Loan's stated maturity date, but prior to expiration of the contractual

grace period for repaying the Loan, Hambright filed her chapter 13 bankruptcy petition. (See AP

Doc. 13, Ex. A at 3; BK Doc. 1.) TitleMax had not yet repossessed the Vehicle at the time of the

filing. (See AP Doc. 25 at ¶ 7; AP Doc. 26 at 4; AP Doc. 29 at 2.) Hambright, at all relevant

times, has retained actual possession of the Vehicle. (See id.) In this adversary proceeding,

TitleMax expressly disclaims any theory of its constructive possession of the Vehicle, stating

"Plaintiff is not arguing that it constructively held possession of the [V]ehicle through the title."

(See AP Doc. 31 at 3.)

       Neither Hambright nor the Trustee has repaid the Loan. (See AP Doc. 25 at ¶ 19.)

Hambright's chapter 13 plan proposes to treat TitleMax as fully secured and pay TitleMax the




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present value of its entire claim. (See id. at ¶ 21; BK Doc. 41 at 2-3.) TitleMax has filed an

objection to this proposed treatment in Hambright's bankruptcy case. (See BK Doc. 51, passim.)

IV.    Analysis

       A.      The Big Picture

                i.     The Estate

       State and federal law are relevant to defining the relationships of the parties to the Vehicle

(and to one another), both as of the date Hambright commenced the bankruptcy case and now.

This is due, in large part, to the fact that Hambright's bankruptcy filing gave rise to the Estate. See

11 U.S.C. § 541(a). The Estate is a legal entity. See id.; In re Woerner, 783 F.3d 266, 271 (5th

Cir. 2015). The Estate's interests are protected in Hambright's bankruptcy case in a variety of ways

(see, e.g., 11 U.S.C. §§ 327(a), 1307(c)), and duties (including fiduciary duties) are owed to the

Estate. See, e.g., id. §§ 323, 1302.

       What is (and is not) property of a bankruptcy estate at any given point in time is a question

of federal law and is impacted by myriad Bankruptcy Code sections. See, e.g., id. § 541(a) ("The

commencement of a case…creates an estate…comprised of all the following property, wherever

located and by whomever held…"); id. § 1306(a) ("Property of the estate includes, in addition to

the property specified in section 541 of this title—(1) all property of the kind specified in such

section that the debtor acquires after the commencement of the case but before the case is closed,

dismissed, or converted…; and (2) earnings from services performed by the debtor after the

commencement of the case but before the case is closed, dismissed, or converted…"); id. §

1327(b), (c) ("(b) Except as otherwise provided in the plan or the order confirming the plan, the

confirmation of a plan vests all of the property of the estate in the debtor…[and] (c)…the property

vesting in the debtor…is free and clear of any claim or interest of any creditor provided for by the



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plan."); id. § 348(f)(1) ("Except as provided in paragraph (2), when a case under chapter 13 of this

title is converted to a case under another chapter of this title—(A) property of the estate in the

converted case shall consist of property of the estate, as of the filing of the petition, that remains

in the possession of or is under the control of the debtor on the date of conversion…"); id. §

349(b)(3) ("Unless the court, for cause, orders otherwise, a dismissal of a case other than under

section 742 of this title…revests the property of the estate in the entity in which such property was

vested immediately before the commencement of the case…"); id. § 554(d) ("Unless the court

orders otherwise, property of the estate that is not abandoned under this section and that is not

administered in the case remains property of the estate."). Generally speaking, "the date of filing

of the bankruptcy petition operates as a date of cleavage when property of the debtor owned on

that date passes into the estate and after-acquired property remains with the debtor." Klee & Holt,

BANKRUPTCY AND THE SUPREME COURT: 1801-2014 at 205 (2015) (internal citations omitted).

But see, e.g., 11 U.S.C. § 1306(a) (adding post-petition property interests to the estate in chapter

13 cases); In re Waldron, 536 F.3d 1239, 1243 (11th Cir. 2008) (holding that property interests

acquired by a chapter 13 debtor post-confirmation vest in the bankruptcy estate).

       With limited exceptions, an estate's "property" includes "all legal or equitable interests of

the debtor in property as of the commencement of the case," as well as "proceeds, product,

offspring, rents, or profits of or from property of the estate." See 11 U.S.C. § 541(a)(1), (6). This

may be an abstract distinction, but, under Bankruptcy Code section 541, "property of the estate"

refers to the debtor's bundle of rights and interests in and to various categories of things, whereas,

in other Bankruptcy Code sections, "property" may refer to such rights or interests or to the things

that are subject to such rights or interests. See id. § 541(a); see also Schwab v. Reilly, 560 U.S.

770, 782 (2010) (holding that Bankruptcy Code section 522(d) refers to a debtor's "interests" in



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the assets categorically described, not the assets themselves). By way of example, a car leased by

a debtor often is referred to as property of the estate; however, it is perhaps more precise to say

that the debtor's petition date property interest and rights—the leasehold and its attendant rights of

possession and use (i.e., the debtor's bundle of rights and interests in and to the vehicle)—are the

estate's property. Even an arguable right to possession is property. Fed. Deposit Ins. Corp. v.

Morrison, 747 F.2d 610, 614 (11th Cir. 1984), cert. denied, 474 U.S. 1019 (1985) (citing Fuentes

v. Shevin, 407 U.S. 67, 86, n.16 (1972)). And the Bankruptcy Code casts a wide net, bringing all

"property" into the estate absent an exclusion. See 11 U.S.C. § 541. Of course, while the

Bankruptcy Code defines the composition of an estate, non-bankruptcy law (typically state law)

creates and defines the rights and interests that enter the estate. See Butner v. U.S., 440 U.S. 48,

55 (1979). In other words, the property acquired by a bankruptcy estate from a debtor, by operation

of federal bankruptcy law, depends on non-bankruptcy law for its existence. See Klee & Holt, at

207.

       Twin policies underpin federal bankruptcy law: (1) "to secure for creditors everything of

value the bankrupt may possess in alienable or leviable form when he files his petition" and (2)

"to leave the bankrupt free after the date of his petition to accumulate new wealth in the

future…and thus make an unencumbered fresh start." Kokoszka v. Belford, 417 U.S. 642, 646

(1974) (internal citations omitted); see also Toibb v. Radloff, 501 U.S. 157, 163-64 (1991)

(discussing the Bankruptcy Code's general "policy of maximizing the value of the bankruptcy

estate" and "deriving as much value as possible from the debtor's estate"); Loc. Loan Co. v. Hunt,

292 U.S. 234, 244-45 (1934) (stating that "[o]ne of the primary purposes of the Bankruptcy Act

[was] to 'relieve the honest debtor from the weight of oppressive indebtedness'") (internal citations

omitted). In a chapter 7 case, the trustee liquidates property of the estate—to the extent the estate's



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property has realizable value—and distributes the monies collected in accordance with the

Bankruptcy Code's priority scheme. See 11 U.S.C. §§ 704, 726. In a chapter 13 case, the trustee

is not tasked with liquidating the estate's property (see id. § 1302), and the debtor is afforded the

exclusive right to use, sell, or lease property of the estate under Bankruptcy Code section 363. See

id. § 1303. However, a chapter 13 plan is not confirmable if the debtor's unsecured creditors will

receive less under the plan than they would in a chapter 7 liquidation. See id. § 1325(a)(4). Thus,

the Bankruptcy Code seeks to protect and enhance bankruptcy estates in several ways, to benefit

both the debtor and the debtor's creditors and to facilitate the Bankruptcy Code's distributive

scheme.

         By way of example, Bankruptcy Code section 362(a) stays acts to take property of or from

an estate. The stay is intended to protect both debtors and creditors:

         The automatic stay is one of the fundamental debtor protections provided by the
         bankruptcy laws. It gives the debtor a breathing spell from his creditors. It stops all
         collection efforts, all harassment, and all foreclosure actions...The automatic stay
         also provides creditor protection. Without it, certain creditors would be able to
         pursue their own remedies against the debtor's property. Those who acted first
         would obtain payment of the claims in preference to and to the detriment of other
         creditors. Bankruptcy is designed to provide an orderly liquidation procedure under
         which all creditors are treated equally.

H.R.Rep. No. 595, 95th Cong., 2d Sess. 340 (1977), reprinted in 1978 U.S.C.C.A.N. 5963, 6296-

97.

         Chapter 5 of the Bankruptcy Code also arms a trustee—or a debtor exercising the powers

of a trustee (see generally 11 U.S.C. §§ 1107, 1203)—with various federal rights and powers

intended to enhance and preserve bankruptcy estates (and facilitate a debtor's fresh start), ranging

from the rights of a hypothetical judicial lienholder (see id. § 544(a))4 to a federal right to


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  A trustee's lien on property of a bankruptcy estate is a federally created interest in the estate's property that is distinct
from the interests acquired by the estate from the debtor; however, the validity, priority, and extent of a trustee's lien
largely depends on applicable non-bankruptcy law. See id. § 544(a)(1) ("The trustee shall have, as of the

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possession of property that a trustee or debtor may use, sell, or lease under Bankruptcy Code

section 363, or that the debtor may exempt under Bankruptcy Code section 522. See 11 U.S.C. §

542(a); see also U.S. v. Whiting Pools, Inc., 462 U.S. 198, 207 (1983) ("In effect, § 542(a) grants

to the estate a possessory interest in certain property of the debtor that was not held by the debtor

at the commencement of reorganization proceedings."). In some instances, chapter 7 and chapter

13 debtors may exercise these powers. See, e.g., 11 U.S.C. § 522(h).

         Among the most significant of the chapter 5 rights and powers are the "avoiding" powers.

For instance, Bankruptcy Code sections 547 and 548 allow for avoidance of certain pre-petition

transfers, and Bankruptcy Code section 552 invalidates certain after-acquired property clauses in

pre-petition security agreements without the necessity of an avoidance action. See 11 U.S.C. §§

547, 548, 552. Potentially relevant to the parties' dispute in this proceeding and the related

bankruptcy case is Bankruptcy Code section 549, which allows for avoidance of unauthorized,

post-petition transfers of estate property. See id. § 549.

         Ordinarily, if a post-petition transfer of estate property is not authorized by the Bankruptcy

Code or court order, it may be avoided. See id. § 549; In re Delco Oil, Inc., 599 F.3d 1255 (11th


commencement of the case, and without regard to any knowledge of the trustee or of any creditor, the rights and
powers of, or may avoid any transfer of property of the debtor or any obligation incurred by the debtor that is voidable
by—(1) a creditor that extends credit to the debtor at the time of the commencement of the case, and that obtains, at
such time and with respect to such credit, a judicial lien on all property on which a creditor on a simple contract could
have obtained such a judicial lien, whether or not such creditor exists"); see also Ala. Code § 6-9-40(2), (3) (stating
that executions may be levied on personal property of the defendant, except things in action, whether he has absolute
title thereto or the right only to possession for a period of time and also that an equity of redemption in personal
property is subject to levy, but stating that "[w]hen any interest less than the absolute title is sold, the purchaser is
subrogated to all the rights of the defendant and subject to all his disabilities."); id. § 6-9-211 (stating that a judgment
lien attaches to "all property of the defendant which is subject to levy and sale under execution"); id. § 32-8-39(e)
(stating that a "certificate of title to a vehicle is not subject to garnishment, attachment, execution or other judicial
process, but this subsection does not prevent a lawful levy upon the vehicle"). If a trustee's lien attaches to estate
property, the trustee's lien enables the trustee to subordinate interests that are junior to the trustee's lien (see, e.g., id.
§ 7-9A-317) and also to assert the rights and remedies of a junior lienholder in respect of any senior lienholder
(including, without limitation, a junior lienholder's right to make demand for surplus proceeds, see id. § 7-9A-608,
and a junior lienholder's right to request notice of and an opportunity to object to a strict foreclosure, see id. §§ 7-9A-
620, 7-9A-621). See 11 U.S.C. § 541(a)(1). Neither the Trustee nor Hambright has invoked the Trustee's rights or
powers under Bankruptcy Code section 544(a) in this proceeding, as such the court does not herein address the impact
of the alleged forfeiture on the Trustee's lien on the Vehicle (if any).

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Cir. 2010) ("To avoid a transfer under [s]ection 549(a) a trustee need only demonstrate: (1) a post-

petition transfer (2) of estate property (3) which was not authorized by the Bankruptcy Code or the

court…After the trustee makes that showing, the party asserting an established transfer's validity

bears the burden of proving it valid.") (internal citations omitted); see also Fed. R. Bankr. P. 6001

("Any entity asserting the validity of a transfer under § 549 of the Code shall have the burden of

proof."). Furthermore, if the transfer of a bankruptcy estate's interest in property is avoided, the

trustee (or debtor) may recover the property or its value from the transferee (provided the estate

will benefit from the recovery). See 11 U.S.C. § 550(a). Notably, while there are limitations on

the Bankruptcy Code section 549 avoidance power (see generally id. § 549(d)), section 549 does

not, on its face, require that avoidance benefit the estate if the purpose of avoidance is merely to

unwind the post-petition transfer of an interest in property in the possession of the estate's

representative, and not to recover the property or its value from a transferee. Compare id. § 549(a)

("Except as provided in subsection (b) [which applies to involuntary bankruptcies] or (c) [which

applies to transfers of interests in real property to good faith purchasers without knowledge of the

bankruptcy], the trustee may avoid a transfer of property of the estate—(1) that occurs after the

commencement of the case; and (2)(A) that is authorized only under section 303(f) or 542(c) of

this title; or (B) that is not authorized under this title or by the court") with id. § 550(a) ("Except

as otherwise provided in this section, to the extent that a transfer is avoided under…549…of this

title, the trustee may recover, for the benefit of the estate, the property transferred, or, if the court

so orders, the value of such property…"). Further, avoidance of a post-petition transfer may upset

state law rights and priorities. See, e.g., Delco Oil, 599 F.3d at 1260.

        The Bankruptcy Code broadly defines "transfer," stating that "[t]he term 'transfer' means –

(A) the creation of a lien; (B) the retention of title as a security interest; (C) the foreclosure of a



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debtor's equity of redemption; or (D) each mode, direct or indirect, absolute or conditional,

voluntary or involuntary, of disposing of or parting with—(i) property; or (ii) an interest in

property." See 11 U.S.C. § 101(54). This means even post-petition transfers that are not void as

violative of the stay5 may be avoidable if not authorized by the Bankruptcy Code or bankruptcy

court. See, e.g., In re Forman Enters., Inc., 273 B.R. 408, 416 (Bankr. W.D. Pa.) (2002)

("Nowhere is there any indication in the Bankruptcy Code that action, as opposed to inaction, by

a debtor is required for there to be a transfer."). The Bankruptcy Code section 549 avoidance

power is among the chapter 5 powers that a chapter 13 debtor may exercise if the chapter 13 trustee

does not. See 11 U.S.C. § 522(h).

         Ultimately, bankruptcy estates are creatures of federal bankruptcy law, and, therefore, the

Bankruptcy Code has a lot to say about them. Of the 300-plus Bankruptcy Code provisions, more

than 200 mention the estate. A fundamental policy of statutory interpretation is that Bankruptcy

Code provisions must be construed to give effect to the entire statutory scheme. See Klee & Holt,

at 19-20, 26-27, n.98 (internal citations omitted). Thus, Bankruptcy Code sections may not be

read in isolation, and questions regarding the composition of a bankruptcy estate at any given point

in time cannot be answered solely by reference to Bankruptcy Code section 541 (or any single

Bankruptcy Code provision). Moreover, "[t]he idea that state law determines property rights was,

and still is, of great importance in the structure of bankruptcy law, but it was never an absolute."


5
  In the Eleventh Circuit, actions that violate the stay are void and without effect (not merely voidable). See Borg-
Warner Acceptance Corp. v. Hall, 685 F.2d 1306, 1308 (11th Cir. 1982). However, the Eleventh Circuit has construed
362(a) as enjoining only affirmative acts, and the United States Supreme Court also has so held when construing
Bankruptcy Code section 362(a)(3). See City of Chicago v. Fulton, 141 S. Ct. 585, 590-92 (2021) (holding that a
secured party's retention of collateral did not violate the stay of section 362(a)(3)); In re Northington, 876 F.3d 1302,
1313-14 (11th Cir. 2017) (holding that the stay of section 362(a) does not toll an "as-yet-unexpired state-law
redemption period indefinitely"). Therefore, although Bankruptcy Code section 362(b)(24) provides that actions that
effect avoidable post-petition transfers are not excepted from the stay of section 362(a), the Eleventh Circuit's holding
in Northington may compel the conclusion that transfers that occur automatically by operation of state law, and
without any affirmative conduct by a secured party, are not violative of the stay and, therefore, are not void ab initio.
See Northington, 876 F. 3d at 1313-14.

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See Grant Gilmore, SECURITY INTERESTS IN PERSONAL PROPERTY § 45.2, at 1284 (1965). "Property

rights do not gain any absolute inviolability in the bankruptcy court because created and protected

by state law. Most property rights are so created and protected. But if Congress is acting within

its bankruptcy power, it may authorize the bankruptcy court to affect these property rights,

provided the limitations of the due process clause are observed." Wright v. Union Cent. Life Ins.

Co., 304 U.S. 502, 518 (1938).

        The foregoing notwithstanding, state law can, and does, significantly impact the rights of,

and relief available to, debtors and creditors in bankruptcy and the value of bankruptcy estates.

The Bankruptcy Code's incorporation of and deference to state law exemptions offers a stark

example of how impactful state law can be in bankruptcy. See 11 U.S.C. § 522(b). Compare Ala.

Code §§ 6-10-2, 6-10-12 (setting an individual's homestead exemption at $15,000, subject to

adjustment on July 1, 2017 and at the end of each three-year period thereafter)6 with Fla. Const.

art. X, §4 (establishing a virtually limitless homestead exemption). Even in states where the

codifications of the UCC are virtually identical, bankruptcy treatment of secured parties may vary

significantly because the UCC does not purport to entirely displace the common law that preceded

its codification, and other state statutes may supersede or supplement its provisions. Compare In

re Rozier, 376 F.3d 1323 (11th Cir. 2004) (holding that, under Georgia law, a chapter 13 debtor's

estate holds a sufficient property interest in a vehicle repossessed by a secured party pre-

bankruptcy to compel turnover of the vehicle to the debtor under Bankruptcy Code section 542)

with In re Lewis, 137 F.3d 1280 (11th Cir. 1998), reh'g denied, 149 F.3d 1197 (11th Cir. 1998)




6
 Presently, the homestead exemption that an individual may claim is $16,450. See Office of State Treasurer for the
State of Alabama, Resources, CPI Information available at https://treasury.alabama.gov/cpi-information/ (last visited
November 19, 2021).

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(reaching the opposite conclusion under Alabama law, based on the Alabama common law's

treatment of a chattel mortgagee's legal title as vested, at law, upon default and repossession). 7

                  ii.       Secured Claims in Bankruptcy; the Federal Definitions

         Importantly, in bankruptcy, "lien," "security interest," "security agreement," "debt,"

"claim," and "creditor" are federally defined terms. Lien is defined broadly as a "charge against

or interest in property to secure payment of a debt or performance of an obligation." See 11 U.S.C.

§ 101(37). A lien created by an agreement is a "security interest," and an agreement that creates

or provides for a security interest is a "security agreement." See id. § 101(50), (51). A defining

characteristic of a "lien" is that it secures payment of a "debt," which is defined as liability on a

"claim." See id. § 101(12). "Claim" is defined broadly, as "any right to payment" (be it legal,


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  In Lewis, the Eleventh Circuit Court of Appeals held that a debtor's statutory (non-temporal) UCC right of redemption
is an insufficient interest in a vehicle (under the Alabama common law and Old Alabama Article 9) to compel a
secured party's turnover of the vehicle under Bankruptcy Code section 542(a). 137 F.3d at 1284. To support this
holding, and to reconcile it with the United States Supreme Court's holding in United States v. Whiting Pools, Inc.,
462 U.S. 198 (1983) that a secured party can be compelled to turnover collateral in its possession under Bankruptcy
Code section 542 (see id. at 205-06), the Eleventh Circuit pointed to Alabama cases involving claims for conversion
(i.e., trover). See Lewis,137 F.3d at 1283. Specifically, the Circuit, in Lewis, considered it pertinent that, after the
adoption of the Alabama UCC in 1965, the Alabama Court of Civil Appeals continued to point to the common law's
treatment of a chattel mortgagee's legal title as unconditional upon default and vested, at law, upon possession, to hold
that a chattel mortgagor cannot maintain a conversion claim against a chattel mortgagee for the mortgagee's post-
default repossession of the mortgaged chattel. See id. (citing Am. Nat'l Bank, & Tr. Co. of Mobile v. Robertson, 384
So.2d 1122 (Ala. Civ. App. 1980) and Pierce v. Ford Motor Credit Co., 373 So. 2d 1113 (Ala. Civ. App. 1979); see
also Harmon v. Dothan Nat'l Bank, 64 So. 621, 622 (Ala. 1914) ("Under the theory of mortgages prevailing in this
state, nothing can be clearer than the proposition that after default the legal title of the mortgagee is perfect. Indeed,
foreclosure adds nothing to the legal title, and its only office and value is to cut off the equity of redemption. The
mortgagee's legal title carries, of course, the right of possession, and, in the case of chattels, possession taken by the
mortgagee after default leaves in the mortgagor no interest except an equity of redemption—which is cognizable and
enforceable only in a court of equity"); see also Auto. Acceptance Corp. v. Powell, 234 So. 2d 593, 600 (Ala. Civ.
App. 1970) ("Under our law, appellant was within his rights to repossess the property…It follows then that the appellee
could not maintain an action for conversion since he had no legal title to the auto, and no immediate right to possession
of the auto"). Without discussing whether the subject secured credit transaction was properly characterized as a chattel
mortgage, or expressly considering the significance of the chattel mortgagor's equity of redemption, the Eleventh
Circuit summarily concluded that, after default and repossession, the debtor did "not retain title, possession or any
other functionally equivalent ownership interest in the repossessed automobile," and went on to state, "we readily
conclude that [the debtor's] statutory right of redemption in the automobile became 'property of the estate'…we are
not convinced, however, that the mere existence of the estate's ability to redeem the automobile renders the automobile
itself 'property of the estate,' at least to the extent that it should be turned over pursuant to 11 U.S.C. § 542(a)." See
Lewis, 137 F.3d at 1284.


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equitable, secured, unsecured, liquidated, contingent, etc.) or "right to an equitable remedy for

breach of performance if such breach gives rise to a right to payment." See id. § 101(5). The

definition encompasses both recourse and non-recourse obligations (i.e., obligations enforceable

against a debtor's property only, not the debtor personally). See Johnson v. Home State Bank, 501

U.S. 78, 85-86 (1991); Matter of Lindsey, Stephenson & Lindsey, 995 F. 2d 626, 627-28 (5th Cir.

1993), cert. denied, 510 U.S. 1111 (1994) (citing Pennsylvania Dep't of Pub. Welfare v.

Davenport, 495 U.S. 552 (1990)); In re Saylors, 869 F.2d 1434, 1436 (11th Cir. 1989); see also

11 U.S.C. § 102(2) (stating that "'claim against the debtor' includes claim against property of the

debtor"); id. § 1111(b). A claim holder is a "creditor" under the Bankruptcy Code if its claim

"arose at the time of or before the order for relief concerning the debtor" (see id. § 101(10)), or if

its claim is deemed to have "arisen before the date of the filing of the petition." See, e.g., id. §

502(g); id. § 1305(b).

         Generally speaking, a creditor's claim is not regarded as a secured claim in a bankruptcy

case unless the claim is "secured by a lien on property in which the estate has an interest." See id.

§ 506(a)(1).8 Bankruptcy Code section 506 does not refer to "property of the estate" in defining

who is and is not the holder of a secured claim. See 11 U.S.C. § 506(a). Instead, and consistent

with Bankruptcy Code section 541's references to the debtor's rights and interests in things as the

estate's property (and not the things themselves), section 506(a) treats as the holder of a secured

claim any creditor with "a lien on property in which the estate has an interest, or that is subject to

setoff under section 553,…to the extent of the value of such creditor's interest in the estate's interest

in such property." See id. § 506(a)(1) (emphasis added). A debtor's exemptions do not impact the


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  When section 506(a) is inapplicable (see, e.g., the hanging paragraph of section 1325(a)(5)), Bankruptcy Code
section 1325(a)(5) has been construed as referring (more broadly) to claims that are "allowed" and "secured by a lien."
See In re Dean, 537 F.3d 1315, 1320 (11th Cir. 2008) (holding that a 910-creditor held an allowed secured claim under
section 1325(a)(5) and was entitled to be paid the present value of its entire claim).

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value of a creditor's secured claim for purposes of section 506(a) if the creditor's lien is not subject

to avoidance. See generally id. § 522(c).

       For the most part, the Bankruptcy Code endeavors to treat similarly situated creditors

similarly. Thus, with limited exceptions (like the anti-modification provision applicable to a

creditor holding a claim that is secured only by a lien on real property that is the debtor's principal

residence, see id. § 1322(b)(2), and the exclusion to Bankruptcy Code section 506 applicable to a

creditor that holds a purchase money security interest in a vehicle purchased within 910 days of

the bankruptcy petition date, see id. § 1325(a)(5)'s hanging paragraph), the allowed amount of an

undersecured creditor's secured claim may be "stripped down" to the value of the creditor's

collateral in a chapter 13 plan (provided the debtor is eligible for a discharge). See id. § 506(a);

id. § 1325(a)(5); In re Paschen, 296 F.3d 1203, 1205-07 (11th Cir. 2002), cert. denied, Am. Gen.

Fin. v. Paschen, 537 U.S. 1097 (2002). Further, if a creditor's collateral has no value (because the

collateral is worthless or senior lien(s) equal or exceed the collateral's value), the creditor's claim

may be treated as entirely unsecured, and the creditor's lien discharged without payment, i.e.,

"stripped off," even if the lien encumbers only real property that is the debtor's principal residence.

See 11 U.S.C. §§ 506(a), 1322(b)(2); In re Scantling, 754 F.3d 1323, 1329-30 (11th Cir. 2014). In

certain instances, involuntary liens and even some voluntary liens are avoidable to preserve and

enhance the value of an individual debtor's claimed exemptions. See 11 U.S.C. § 522(f).

Additionally, the post-confirmation interest payable to the holder of an allowed secured claim in

chapter 13 typically is based on present value analysis—i.e., the debtor must ensure the plan pays

the creditor the present value of its secured claim—not the parties' contract interest rate. See id. §

1325(a)(5)(B)(ii); Till v. SCS Credit Corp., 541 U.S. 465, 474 (2004). In other words, the

Bankruptcy Code arms reorganizing individuals (like reorganizing entities) with a variety of tools



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to compel restructuring of their secured (and unsecured) debts on more favorable, and more

affordable, terms.

         Like the UCC (see, e.g., Ala. Code § 7-9A-202, cmt. 3(b)), the Bankruptcy Code largely

eschews questions of title for purposes of determining whether a person or entity is the holder of

a lien, making no distinction between "title theory" and "lien theory" states. See 11 U.S.C. §

101(37), (50), (51) (defining "lien," "security interest," and "security agreement"); see also id. §

506.9 Notably, in a case upholding the constitutionality of a Bankruptcy Act provision that

indefinitely tolled a debtor's statutory right to redeem property post-foreclosure, the United States

Supreme Court held that the interests of the foreclosure sale purchaser were subject to adjustment

in bankruptcy, explaining:




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  The court does not mean to suggest that the title-lien distinction in secured credit transactions is, or ever was, entirely
irrelevant in bankruptcy, as the Eleventh Circuit's continued reliance on such distinctions in Lewis highlights.
However, it warrants mention that the UCC was structured to minimize the importance of such distinctions. Writing
in 1965 (prior to the enactment of the Bankruptcy Code), Grant Gilmore, one of the original draftsmen of UCC Article
9, observes in his comprehensive treatise on pre- and post-UCC personal property security devices, SECURITY
INTERESTS IN PERSONAL PROPERTY: "The distinction between lien and title, although it has never bulked as large in
the personal property security field as it has, and perhaps still does, in the field of real property mortgages, was relevant
in the nineteenth century in a number of situations. In [the 20th century] the only relevance of title theory with respect
to security transactions has been in connection with petitions for reclamation in bankruptcy proceedings—that is,
demands that the trustee in bankruptcy physically deliver to the claimant the property covered by the petition."
Gilmore § 11.8, at 365. Gilmore goes on to explain later in the treatise: "Section 9-202 and the accompanying
comment make clear that the Article 9 security interest is not, conceptually, a title device…Thus the distinction
occasionally drawn in the scattered bankruptcy case law between 'title devices' and 'mere liens,' with respect to the
granting or denial of the secured creditor's petition in reclamation, no longer has any basis in state law." See id. §
44.9.1, at 1254. Notably, in 1935, the Second Circuit Court of Appeals held that property sold to a debtor under a
conditional sales contract was not "property of the debtor" until the purchase price was paid and, therefore, was not a
part of the subject-matter of the debtor's reorganization under the Bankruptcy Act; accordingly, the conditional seller
was permitted to reclaim the property. See In re Lake's Laundry, Inc., 79 F.2d 326, 328 (2d Cir. 1935), cert. denied,
296 U.S. 622 (1935). However, in 1966 (after the UCC's adoption in 47 states), the Second Circuit repudiated its
holding in Lake's Laundry. See In re Yale Express Sys., Inc., 370 F.2d 433, 437-38 (2d Cir. 1966) ("Since the Uniform
Commercial Code has abolished the technical distinctions between the various security devices, the federal bankruptcy
courts should no longer feel compelled to engage in the purely theoretical exercise of locating 'title;' nor should
considerations of where 'title lies' influence the courts in the exercise of their equitable discretion."). Thus, the
Honorable Learned Hand astutely foreshadowed the diminished importance of where title lies in secured credit
transactions in bankruptcy in his dissent in Lake's Laundry: "It seems to be a barren distinction, though indubitably
true, that title does not pass upon a conditional sale; 'title' is a formal word for a purely conceptual notion; I do not
know what it means and I question whether anybody does, except perhaps legal historians. The relations resulting
from conditional sales are practically the same as those resulting from mortgages; I would treat them as the same when
we are dealing with the reorganization of the debtor's property." Lake's Laundry, 79 F. 2d at 328-29.

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         [W]hile there may be no relation of debtor and creditor between the bankrupt and
         the purchaser of his property at judicial sale, we think the purchaser at a judicial
         sale does enter into the radius of the bankruptcy power over debts. His purchase is
         in the liquidation of the indebtedness. The debtor has a right of redemption of which
         the purchaser is advised, and until that right of redemption expires the rights of the
         purchaser are subject to the power of the Congress over the relationship of debtor
         and creditor and its power to legislate for the rehabilitation of the debtor. The person
         whose land has been sold at foreclosure sale and now holds a right of redemption
         is, for all practical purposes, in the same debt situation as an ordinary mortgagor in
         default; both are faced with the same ultimate prospect, either of paying a certain
         sum of money, or of being completely divested of their land. We think the provision
         for the extension of the period of redemption comes clearly within the power of the
         Congress under the bankruptcy clause.

Wright, 304 U.S. at 514–15. This is not to say that a mortgage foreclosure sale purchaser is subject

to treatment as the holder of a claim secured by a lien on the mortgaged property under the

Bankruptcy Code. See infra, pp. 25-26. Redemption rights of a stated duration are not indefinitely

tolled by the Bankruptcy Code. See generally 11 U.S.C. § 108(b); In re Northington, 876 F.3d at

1313 (concluding that section 362(a) does not toll the running of a temporal redemption period

beyond the timeframes set forth in section 108(b)).10 But, as the United States Supreme Court's

ruling in Wright highlights, while federal courts generally are loathe to upset parties' state law

expectations, federal bankruptcy law can and does, in many instances, do just that, and state law

alone does not determine whether a creditor's interest in property is subject to characterization as

a Bankruptcy Code lien or whether the creditor is subject to treatment as holder of a secured claim.




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   Whether a debtor may extend, via a chapter 13 plan, a temporal redemption period that is tied to a payment default,
and the expiration of which triggers a post-petition transfer of a property interest of the estate, is a separate question
that is not explicitly addressed by Northington. See id. at 1305-26 (concluding section 1322(b)(2) was inapplicable
upon expiration of the debtor's temporal redemption period, without discussing whether or not the debtor might have
extended the redemption period under section 1322(b)(3), or whether the resulting forfeiture of the debtor's interests
in the vehicle, if any, was an authorized post-petition transfer); see generally 11 U.S.C §§ 1322(b)(2)-(3). The dispute
in this proceeding concerns what Estate rights or interests in the Vehicle were forfeited to TitleMax (if any) upon the
post-petition expiration of the Alabama Pawnshop Act's temporal period for Hambright to redeem the pledged good(s)
securing the Loan. Because the court concludes that only the Replacement Certificate, not the Vehicle, is subject to
characterization as a pledged good under the Act (and, therefore, that the Estate retains its statutory and equitable non-
temporal redemption rights in and to the Vehicle), the court need not consider whether Hambright's chapter 13 plan
can or does operate to extend Hambright's temporal redemption period for redeeming the Replacement Certificate.

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        Necessarily, any federal court decisions that interpret state law as carving out certain

secured debts from restructuring in bankruptcy are consequential. This is not because the result in

bankruptcy differs from that at state law—more often than not, state law does not give a defaulting

debtor the right to retain possession of collateral or allow a debtor to pay less than the entire secured

obligation to discharge a creditor's lien on, or legal title to, collateral or concern itself with

equitably distributing a debtor's assets among the debtor's creditors in accordance with the federal

law priority scheme. It is because the result is to give preferential treatment to some secured

creditors in bankruptcy, to deprive debtors of use of their federal bankruptcy toolkit for obtaining

a fresh start, and (in some instances) to allow secured parties to realize equity in collateral (to the

detriment of debtors and, potentially, unsecured creditors). None of the foregoing results are

consistent with the broad policies underpinning the Bankruptcy Code. This does not mean that

such results are wrong, but it does mean that the court must take care to consider the impact of

federal law on parties' state law rights, as well as to define the parties' rights in accordance with

both federal bankruptcy law and applicable non-bankruptcy law.

                iii.    The State Law Impact on the Federal Definitions

        Importantly, although "lien" is a federally defined term, how non-bankruptcy law

characterizes a party's interest in property, and the party's relationship to the debtor as a matter of

non-bankruptcy law, necessarily informs the federal definition.            For instance, if state law

characterizes a transaction as a true lease, not a secured credit transaction, the lessor cannot be

treated in bankruptcy as a lienholder because the lessor's interest is not charged with payment of a

debt (i.e., the lessor's interest in the leased property is not subject to extinguishment or divestment

by payment of an obligation).




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       In the Eleventh Circuit, the temporal right to redeem real property post-foreclosure, under

Alabama Code section 6-5-248, is not a sufficient interest in the mortgaged property to relegate

the foreclosure sale purchaser to treatment as the holder of a modifiable secured claim. See In re

Smith, 85 F.3d 1555, 1557-61 (11th Cir. 1996) (following In re Glenn, 760 F.2d 1428, 1435-36

(6th Cir. 1985)). Alabama law characterizes this post-foreclosure statutory redemption right as a

personal privilege, not property or a property right (see Ala. Code § 6-5-250); nevertheless, the

statutory redemption right is regarded, under federal bankruptcy law, as a property interest in the

foreclosed property that passes to the bankruptcy estate under Bankruptcy Code section 541. See

Wragg v. Fed. Land Bank, 317 U.S. 325, 328-29 (1943) (holding the Alabama statutory right to

redeem realty post-foreclosure is an interest in mortgaged property that may be administered in

bankruptcy, notwithstanding the Alabama state legislature's denomination of the right as a mere

personal privilege and not a property right); see also Smith, 85 F.3d at 1558. Furthermore, the

mortgage foreclosure sale purchaser can still be divested of its title by a redemptioner's timely

payment of the foreclosure sale purchase price, lawful charges, and, if the purchaser owns the debt

for which the mortgaged property was sold, the balance of the mortgage debt with interest. See

Ala. Code § 6-5-253(a); id. § 6-5-255. Additionally, a mortgagee that takes title at a mortgage

foreclosure sale may have a claim in the mortgagor's bankruptcy case (e.g., for any post-

foreclosure deficiency) and must disburse any profits realized from the mortgagee's sale of the

foreclosed property during the statutory redemption period to the reduction of the mortgagor's debt.

See Springer v. Baldwin Cnty. Fed. Sav. Bank (Springer I), 562 So. 2d 138, 139-40 (Ala. 1989);

Springer v. Baldwin Cnty. Fed. Sav. Bank (Springer II), 597 So. 2d 677, 677-78 (Ala. 1992).

Nevertheless, for various pragmatic reasons, the Sixth Circuit determined, in Glenn, that a debtor's

right to waive or cure the mortgage default under section 1322(b) ends upon the sale of the



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mortgaged premises (regardless of whether the mortgagee or a third party takes title at the

foreclosure sale), and the Eleventh Circuit, in Smith, agreed. See Glenn, 760 F.2d at 1435-36; see

also Smith, 85 F.3d at 1555.

       In Smith, the Eleventh Circuit also cited favorably In re McKinney, 174 B.R. 330 (S.D.

Ala. 1994) (Mahoney, J.). See Smith, 85 F.3d at 1559, 1561. In McKinney, Judge Mahoney based

her decision on applicable state law, pointing to the fact that the subject (pre-bankruptcy) mortgage

foreclosure sale had vested legal title to the mortgaged property in the foreclosure sale purchaser

(the mortgagee) and extinguished the mortgagor's equitable title, leaving the mortgagor (and,

therefore, the mortgagor's estate) with only a temporary, statutory right to regain a property right

or interest in the foreclosed property (akin to an option). McKinney, 174 B.R. at 333-34. Judge

Mahoney, therefore, did not regard the post-foreclosure, statutory redemption right (the estate's

property) as an interest in the mortgaged property, at least not one that could be construed as

encumbered by a lien, and Judge Mahoney did not see fit to characterize the redemptioner's

exercise of the redemption right as "curing or waiving" a payment default. See id. at 335-36.

       Ultimately, whether the Eleventh Circuit placed greater reliance on state law treatment of

the post-foreclosure statutory right to redeem realty in Alabama as a temporary right to regain a

property interest in the foreclosed realty (as in McKinney) or the pragmatic rationales of the Sixth

Circuit in Glenn, the result is the same. Smith means that a mortgagee or other person that takes

title to mortgaged realty at a valid foreclosure sale is not subject to treatment as the holder of a

claim secured by a lien on the foreclosed property in bankruptcy, and a mortgagor's post-

foreclosure, temporal right to redeem the foreclosed real property cannot be extended by a chapter

13 plan. See Smith, 85 F.3d at 1561.




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        Conversely, a mortgagor's non-temporal common law equity of redemption in mortgaged

real property is a sufficient property interest to subject the mortgagee to treatment as the holder of

a lien on, and claim secured by, the mortgaged property in bankruptcy in the Eleventh Circuit. See

Saylors, 869 F.2d at 1436-37 (explaining that the "Alabama equitable right of redemption is more

valuable than the [post-foreclosure] statutory right of redemption"); see also Morrison, 747 F.2d

at 613-14 (characterizing the equity of redemption right as a property interest transferable by deed

and explaining that the statutory right to redeem post-foreclosure is a personal privilege that is

generally less valuable than the equity of redemption). In other words, up until the point of

foreclosure, a mortgagee is subject to treatment as the holder of a claim secured by a lien on the

mortgaged property in the mortgagor's bankruptcy, even in a nominal "title theory" state like

Alabama. See Saylors, 869 F.2d at 1436-37.

        Notably, the equity of redemption (also referred to in Alabama as equitable title) is the

property right that a mortgagor retains if the mortgage is construed as transferring legal title to the

mortgagee, and it is considered an estate in the mortgaged property that is sufficient to regard the

mortgagor as the owner of the mortgaged property as against everyone other than the mortgagee.

See Mallory v. Agee, 147 So. 881, 882 (Ala. 1932) ("After, as before, default, before foreclosure,

the mortgagor has an equity of redemption, which is a property right, and, in all controversies,

except with the mortgagee, it is treated at law as the legal title, and sufficient to sustain any action

which requires the legal title…It is true that some of the cases express it by saying that after default

nothing remains in the mortgagor but the equity of redemption. But it is only in controversies

between the mortgagor and mortgagee that courts of law do not treat such so called 'equity' as the

legal title."); First Union Nat'l Bank, 75 So. 3d 105, 113 (Ala. 2011) (concluding that there is no

"absolute owner" of property until there is a merger of equitable and legal title and that a mortgagor



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retains his or her status as "owner and holder of equitable title" until foreclosure) (internal citations

omitted). In Alabama, a mortgagor may transfer the mortgagor's equity of redemption to the

mortgagee for valuable consideration (see, e.g., Ala. Code § 35-10-51; Ebersole v. Ala. Home

Bldg. & Loan Ass'n, 96 So. 245, 246 (Ala. 1923), but not at the loan's inception (i.e., only the

mortgagor's legal title, not the mortgagor's equitable title is subject to forfeiture), and any

contractual provision in a loan document signed at the loan's inception that purports to forfeit the

mortgagor's equity of redemption to the mortgagee is void. See Parmer v. Parmer, 74 Ala. 285,

287–88 (1883) ("No principle of equity jurisprudence is more firmly settled, than that the

mortgagor's right to redeem can not be waived or extinguished by any collateral agreement entered

into contemporaneously with the execution of the mortgage…Where, therefore, a mortgagor is

induced to enter into a contract with the mortgagee, at the time of the loan of the money, waiving,

or agreeing not to exercise, his right of redemption in the event of default, the contract will be set

aside, as being oppressive to the debtor, and offensive to the established maxim of equity, 'once a

mortgage, always a mortgage'.") (emphasis in original). Further, although the equity of redemption

originally was enforceable only in courts of equity, the merger of courts of law and equity largely

rendered this distinction meaningless.       See Ala. R. Civ. P. 2.       Foreclosure of a mortgage

extinguishes the mortgagor's equity of redemption, merging legal and equitable title to the

mortgaged property in the mortgagee or its transferee. Trauner v. Lowrey, 369 So. 2d 531, 534

(Ala. 1979). However, until the equity of redemption is extinguished, the mortgagor's (or its

transferee's) equitable property interest secures the mortgage, and the mortgagee's (defeasible)

legal title is not the equivalent of absolute ownership of the mortgaged property. See First Union

Nat'l Bank, 75 So. 3d at 113.




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       Prior to the merger of courts of law and equity, the common law conferred greater

protections to chattel mortgagors in possession than it did to chattel mortgagors out of

possession—with both courts of law and equity, not merely courts of equity, recognizing the

defeasibility of a chattel mortgagee's interest in chattel remaining in the mortgagor's possession.

See, e.g., Hall & Brown Wood Working Mach. Co. v. Haley Furniture & Mfg. Co., 56 So. 726,

728 (Ala. 1911) ("[E]ven in a court of law, a tender of the debt by the mortgagor after the law day,

if made before seizure of or demand for the chattels, revests the legal title in the mortgagor.");

Maxwell v. Moore, 10 So. 444, 445 (Ala. 1892) ("In a few, the courts hold that an unaccepted

tender after default will not, at law, re-invest the mortgagor with the title, and that his only remedy

is in equity to redeem; but, in the others, the common-law rule, that after condition broken the title

vests absolutely in the mortgagee, has not been applied so strictly, where the mortgage is of

personal property, as to hold that a tender after default, when kept good, can not, under any

circumstances, operate the destruction of the lien."); Frank v. Pickens, 69 Ala. 369, 370-71 (1881)

(recognizing that the title of a mortgagee is conditional and defeasible and discussing that a post-

default tender made before the mortgagee acquires possession may destroy the title of the

mortgagee but that, after the mortgagee has taken possession, only the acceptance of payment

operates as a waiver of the breach of the condition and consequent forfeiture of legal title).

However, even an Alabama chattel mortgagor out of possession retains the common law equity of

redemption until foreclosure. See Harmon, 64 So. at 624 (recognizing equity of redemption in

mortgaged chattel post-default and repossession); Frank, 69 Ala. at 372 (recognizing the right of

a chattel mortgagor to claim redemption in a court of equity after default and repossession). A

chattel mortgagor's contractual right to possession under a mortgage agreement is an interest in the

mortgaged property that is separate and distinct from the mortgagor's equity of redemption.



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Horton v. Hovater, 66 So. 939, 940 (Ala. Ct. App. 1914). Moreover, as in the real property context,

a chattel mortgagor's equity of redemption is not subject to forfeiture at the mortgage loan's

inception, and the chattel mortgagor's equity of redemption is regarded as a transferable property

interest in mortgaged chattel. Goodman v. Pledger, 14 Ala. 114, 118 (1848) (enslaved person at

issue).11

        Like the common law of chattel mortgages, the Alabama UCC protects the rights and

interests of a debtor in and to collateral for a secured credit transaction in a variety of ways.

Specifically, in transactions subject to part six of Alabama Article 9A (like the subject secured

credit transaction)12 a debtor's pre-foreclosure UCC statutory right of redemption—a codification

of the equity of redemption, see Gilmore § 44.2, at 1216 (characterizing the UCC right of

redemption as preserving the equity of redemption); In re Greene, 248 B.R. 583, 614 (Bankr. N.D.

Ala. 2000) (explaining that the UCC redemption right is the "statutory embodiment in the Uniform

Commercial Code of the equity of redemption")—cannot be waived or transferred to a secured

party pre-default (and, in a consumer good transaction, cannot be waived by agreement at all). See

Ala. Code §§ 7-9A-602(11), 7-9A-623, 7-9A-624. A debtor also cannot agree to a lender's

acceptance of collateral in full or partial satisfaction of the debt (i.e., strict foreclosure) pre-default

when part six applies. See id. §§ 7-9A-602(10), 7-9A-620. And, in a transaction subject to part

six, a debtor cannot waive the debtor's right to a surplus from a disposition (e.g., foreclosure by

sale) pre-default. See id. §§ 7-9A-602(5), 7-9A-615(d). Conversely, a secured party's right to

recover any deficiency from a debtor is waivable. See id. § 7-9A-602 (applying only to certain




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   The abject horror of our legal system's treatment of human beings as ordinary property cannot be overstated;
however, the Alabama Supreme Court's statements as to the ordinary rules of chattel mortgage law in Goodman do
not carry less authority in our legal system by virtue of their repugnant application to persons held in slavery.
12
   Some secured credit transactions that are included within the scope of Alabama Article 9A are not subject to part
six of the article, but none of the exclusions are applicable here. See Ala. Code § 7-9A-601(g).

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Alabama Article 9A sections and only to the extent "they give rights to a debtor or obligor and

impose duties on a secured party"). Thus, a secured creditor can, by contract, limit or waive

recourse against a debtor personally at a secured credit transaction's inception, but a debtor in a

secured credit transaction subject to part six of Alabama Article 9A cannot, by contract, waive the

debtor's UCC redemption or surplus rights to collateral pre-default, or (as a matter of state common

law) contractually agree to forfeit the debtor's equitable title to the secured party at the secured

credit transaction's inception. As Gilmore explains:

       Since the beginnings of mortgage law, it has never been questioned that the
       mortgagor's equity is entitled to absolute protection and cannot be frittered away.
       No agreement, we have long been told, will be allowed to 'clog the equity of
       redemption.' And not even the most drastic of pledge agreements has ever purported
       to free the pledgee from his inescapable duties of accounting to the pledgor for the
       value of the pledged property and of remitting any surplus. Article 9, therefore
       merely reflects history when it provides that the debtor's rights and the secured
       party's correlative duties following default 'may not be waived or varied.'

Gilmore, § 44.4, at 1228-29.

       Even though the Eleventh Circuit has had little trouble characterizing an Alabama real

property mortgagor's equity of redemption as a property interest in the mortgaged realty that is

sufficient to subject the mortgagee to treatment as the holder of a claim secured by a lien on the

mortgaged property (see Saylors, 869 F.2d at 1436-37), the result is less clear when the property

is mortgaged chattel in the possession of the mortgagee. As noted above, the Eleventh Circuit has

held that, after default, an Alabama chattel mortgagor lacks a sufficient interest in mortgaged

chattel in possession of the mortgagee to compel turnover under Bankruptcy Code section 542(a),

because the chattel mortgagee's legal title is considered vested, at law, upon the mortgagor's default

if the mortgagee has exercised its right to take possession of the mortgaged chattel. See Lewis,

137 F.3d at 1283-84. Lewis also has been construed as implicitly holding that the vesting, at law,

of legal title to mortgaged property in a chattel mortgagee pre-bankruptcy forecloses the

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debtor/mortgagor from treating the mortgagee in possession as the holder of a claim secured by a

lien on the mortgaged property.13 Whether a chattel mortgagee's pre-bankruptcy repossession

forecloses treatment of the mortgagee as the holder of a claim secured by a Bankruptcy Code lien

on the mortgaged chattel need not be definitively answered in this proceeding, as Lewis (consistent


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   In an alternative adequate protection analysis, the Circuit, in Lewis, concluded that the mortgaged chattel was not
subject to turnover by the mortgagee because the mortgagee's interest in the mortgaged chattel was not adequately
protected by the debtor's plan, which proposed to strip down the mortgagee's secured claim to the value of the
mortgaged chattel and not to redeem the mortgaged property in accordance with applicable state law. Lewis, 137 F.3d
at 1285. It is conceivable, then, that Lewis's alternative adequate protection analysis is premised on an assumption, or
perhaps even an implicit holding, that an Alabama mortgagee in possession cannot be regarded as holding a claim
secured by a lien on the mortgaged chattel. That said, as discussed herein, a chattel mortgagee in possession, post-
default, has a property interest in the mortgaged chattel that is vested at law (legal title), but the vesting of the
mortgagee's legal title at law does not extinguish the mortgagor's non-temporal equity of redemption (a property
interest in the mortgaged chattel that passes to the mortgagor's bankruptcy estate upon filing). Moreover, under
Alabama Article 9A, a chattel mortgagor's debt is not satisfied, in whole or in part, by the vesting of legal title in the
mortgagee at law, and the chattel mortgagor's equitable title remains encumbered by the mortgage until foreclosure
merges legal and equitable title in the mortgagee or its transferee, free and clear of the secured obligation and junior
liens and security interests. See Ala. Code §§ 7-9A-615, 7-9A-617, 7-9A-620, 7-9A-622. Additionally, a chattel
mortgagor out of possession retains a statutory, non-temporal redemption right under the Alabama Article 9A until
foreclosure, absent a valid post-default waiver. See id. §§ 7-9A-602, 7-9A-619(c), 7-9A-623. Non-temporal
redemption rights (be they equitable or statutory) are, themselves, property that may be administered in bankruptcy.
See Wright, 304 U.S. at 514-15. Section 506 contains no requirement that the estate's encumbered property be "title"
(legal, equitable, or absolute), nor does section 506(a) require that an estate's interest be possessory. And, a debtor
need not possess or absolutely own collateral to grant a security interest in the debtor's interest(s) in the collateral
under Alabama Article 9A. See Ala. Code § 7-9A-102 (a)(28) (defining "debtor"); see also Gilmore § 45.5, at 1305
("As the general concept of 'property' broadens, so does the range of things and claims to which a security interest can
presently attach."). Thus, the undersigned cannot readily offer a rationale for the Circuit's assumption or implicit
holding, in Lewis, that a chattel mortgagee in possession pre-foreclosure does not hold a Bankruptcy Code lien on the
mortgaged property; in fact, for this court to so hold may conflict with prior binding precedent. See Wright, 304 U.S.
at 514-15; Saylors, 869 F.2d at 1437-39. It is notable that the result, in chapter 13, when section 506(a) is inapplicable
(such as to 910-claims), has been to require treatment of the claim holder as fully secured (i.e., to require the debtor
to pay the creditor the present value of its allowed claim to discharge the lien), not to require the debtor to pay the
secured obligation on contract terms or to redeem in accordance with applicable state law. See Dean, 537 F.3d at
1320. Also notable, the result, when section 1322(b)(2) is inapplicable (because the debt is a long-term debt secured
only by the debtor's principal residence), is to require the debtor/equity of redemption holder to cure the payment
defaults via the plan and to make continuing payments on contract terms (directly to the creditor or via conduit
payments by the trustee), not to prevent de-acceleration of the mortgage debt or to require the debtor to redeem in
accordance with state law. See Saylors, 869 F.2d at 1437-39. No claim will lie for the conversion of real property in
Alabama, see Hatfield v. Spears, 380 So. 2d 262, 265 (Ala. 1980), which perhaps provides some explanation for the
Circuit's seemingly disparate treatment, in bankruptcy, of the state law import of the pre-petition vesting of legal title
in a real property mortgagee at law (which occurs upon default in Alabama) and the state law import of the pre-petition
vesting of legal title in a chattel mortgagee at law (which requires that the mortgagee have possession post-default).
It is notable, though, that, "[a] claim for conversion is a legal one cognizable at law," Ballenger v. Liberty Nat'l Life
Ins. Co., 96 So. 2d 728, 733 (Ala. 1957), whereas the equity of redemption (for a time) was enforceable only in equity.
Of course, whether a chattel mortgagee in possession is or is not subject to classification as the holder of a claim
secured by a lien on the mortgaged property, the stay enjoins affirmative acts to extinguish, or to secure the voluntary
transfer of, the estate's non-temporal redemption rights (see 11 U.S.C. §§ 101(54), 362(a), 362(b)(24), 549(a)), leaving
the rights to redeem intact and subject to exercise by a debtor or trustee until the secured party obtains relief from stay
and forecloses.

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with Alabama law) implicitly recognizes that a chattel mortgagee's legal title is not indefeasibly

vested at law until the mortgagee takes possession of the mortgaged property (which has not yet

occurred here) and Lewis explicitly acknowledges that a chattel mortgagor in possession's rights

and interests in mortgaged chattel are the functional equivalent of ownership under Alabama law

if the mortgagor holds a non-temporal redemption right. See Lewis, 137 F.3d at 1283-84. In other

words, even assuming an Alabama debtor/mortgagor must have both a non-temporal right to

redeem mortgaged chattel and possession of the mortgaged chattel (i.e., the mortgagee's legal title

must be defeasible at law and in equity) in order to treat the chattel mortgagee as the holder of a

claim secured by a Bankruptcy Code lien on the mortgaged property, such was the case on

Hambright's petition date. Chattel mortgagees out of possession have long been treated as secured

claim holders in bankruptcy in Alabama, without (to this court's knowledge) any challenge.

Therefore, unless the forfeiture perfected TitleMax's Bankruptcy Code lien on the Vehicle to

absolute title to the Vehicle, Hambright's Bankruptcy Code rights to treat TitleMax as the holder

of a modifiable secured claim, under sections 506(a), 1322(b), and 1325(a)(5), are not interrupted

by the state law forfeiture.

       It bears mention that not all personal property security devices are subject to

characterization as common law chattel mortgages. Another pre-UCC security device—the

pledge—conveys only a lien under Alabama common law, not legal title (i.e., pre-merger of the

courts of law and equity, both courts recognized a pledgor's right to redeem until foreclosure). See

Oden v. Vaughn, 85 So. 779, 782 (Ala. 1920) ("A pledge differs from a chattel mortgage in three

essential characteristics: (1) It may be constituted without any contract in writing, merely by

delivery of the thing pledged. (2) It is constituted by a delivery of the thing pledged, and is

continued only so long as the possession remains with the creditor. (3) It does not generally pass



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the title to the thing pledged, but gives only a lien to the creditor, while the debtor retains the

general property."); Keeble v. Jones, 65 So. 384, 388 (Ala. 1914) ("[T]he pledgor holds a position

of better advantage than that of a mortgagor. After forfeiture, the mortgagee has the complete

legal title, and his possession, without recognition of the mortgagor's equity, is referred to his legal

title, and is adverse to the mortgagor…In the case of pledge, such as here, the general title remains

in the pledgor, there is no forfeiture until the property is applied as security to the payment of the

debt secured, and the pledgee is presumed, until the contrary appears, to hold in subordination to

the pledgor's title."); see also Gilmore § 1.1, at 6 ("The distinction between mortgage and pledge

was of considerable importance in determining the rights of the parties to the security transaction

or of third parties affected by it. The pledgor's right to redeem the collateral from the pledge after

default and before foreclosure was firmly established at law at a time when the mortgagor's

comparable right was available only in equity."); see id. at 9 ("The unification of law and equity

made irrelevant some of the issues which had turned on the pledge-mortgage distinction; the

progressively harsher attitude of the Bankruptcy Act toward late perfected security interests of all

kinds disposed of others."). Although the word "pledge" is sometimes used to refer generally to

the giving of something as security for a debt—and there may be species of non-possessory,

personal property security devices that are referred to as pledges—the common law security device

of pledge depends on the secured party's possession of the pledged good. See Oden, 85 So. at 782.

As Gilmore explains, "any arrangement under which the debtor had the right to retain collateral

until default could not be a pledge." Gilmore § 1.1, at 5. Gilmore goes on to state:

        Possession is a simple concept. The pledgee can hold the property himself or
        through an agent. The agent cannot, however, be either the debtor-pledgor or
        anyone under his control, since the basic pledge idea is that the pledgor must not
        be able to pass the goods off as his own.

Id. § 14.2, at 440.

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       As under the common law, Alabama Article 9A generally does not require that a debtor

sign a written security agreement for a secured party to acquire or perfect a security interest in

goods or quasi-intangibles in the possession of the secured party (i.e., a writing generally is not

required for a secured party to obtain an attached, perfected security interest in pledgeable

property). See Ala. Code § 7-9A-203(b)(3). However, under the Alabama UCC, a secured party

cannot be regarded as having possession of collateral in the hands of the debtor for attachment,

perfection, or enforcement purposes (and, with limited exceptions, even a secured party's

possession of a vehicle covered by a certificate of title is insufficient to perfect a security interest

in the vehicle). See id. § 7-9A-205(a)(1)(A),(B) (stating a security interest "is not invalid or

fraudulent against creditors solely because…the debtor has the right or ability to use…or dispose

of all or part of the collateral" but that "this section does not relax the requirements of possession

if attachment, perfection, or enforcement of a security interest depends upon possession of the

collateral by the secured party"); see also id. § 7-9A-313; State v. Pressley, 100 So. 3d 1058, 1067

(Ala. Civ. App. 2012) ("[T]o the extent there may exist a 'possession' exception to the writing

requirement of § 7-9A-203, possession must be in the secured party, not the debtor.").

Significantly, courts have long been hostile to theories of constructive possession that rely on a

debtor's possession of collateral as agent for its secured lender, and it is against this backdrop that

the UCC was drafted and adopted in Alabama. See Gilmore § 14.2, at 440 ("A number of old

cases show experimentation with the idea of making the pledgor agent for the pledgee—as, for

example, by having the pledgor issue warehouse receipts for goods in his factory or storehouse—

but at this point the courts held the line; it has been frozen law for fifty years that the possession

which perfects a pledge is that of the pledgee himself or of some third party who is independent

of the pledgor."); see also Ala. Code § 7-9A-313, off. cmt. 3 ("The debtor cannot qualify as an



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agent for the secured party for purposes of the secured party's taking possession."). In UCC

terminology, the categories of property in which a security interest is perfected by the secured

party's (or its non-debtor agent's) possession of the property (i.e., collateral that is pledgeable) are

goods (other than, with limited exceptions, goods covered by a certificate of title, see id. §§ 7-9A-

313(b), 7-9A-316(d)), instruments, money, tangible negotiable documents, and tangible chattel

paper. See generally id. §§ 7-9A-312(c), 7-9A-313(a), (b); Gilmore § 14.1, at 439. Otherwise,

unless the secured party's security interest is, by statute, perfected upon attachment (see Ala. Code

§ 7-9A-309), a public filing by the secured party or some other action is required to perfect the

secured party's Article 9 security interest. See id. §§ 7-9A-310, 7-9A-312, 7-9A-314.

        Although the common law of chattel mortgages applies only to certain written security

agreements covering tangible personalty (not oral security agreements sufficient to support

attachment and perfection by possession, e.g., common law pledges), a written security agreement

need not be styled a "mortgage" for the Alabama common law of chattel mortgages to apply. Prior

to widespread adoption of the UCC, courts constantly were tasked with evaluating the validity of

new security devices. See Gilmore § 2.6, at 50-51. "[I]n dealing with this problem the courts seem

to have assumed instinctively that the chattel mortgage was the basic or primordial device with

respect to all personal property security transactions. If the security holder took possession of the

collateral, the transaction of course might be described either as a pledge or a mortgage…If the

borrower remained in possession, the only thing the transaction could be, to start with, was a chattel

mortgage." See id. at 51. Notably, even a debtor's purported sale of personalty pursuant to a signed

bill of sale is subject to characterization as a chattel mortgage under Alabama common law if the

facts evidence that the parties intended a secured credit transaction and not a true sale—such as by

virtue of the debtor's contractual retention of a right to repurchase for the amount of the "purchase



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price," plus interest. See Rice v. Garnett, 84 So. 557, 558 (Ala. Ct. App. 1919), cert. denied, 204

Ala. 698 (1920) (holding that a $20.00 loan secured by the borrower's delivery of a diamond ring

to the lender and a writing purporting to sell the ring to the lender for $23.50, subject to a 30-day

repurchase right, was subject to characterization as a chattel mortgage).

       The UCC did not do away with pre-Code security devices, but it eliminated many of the

technical distinctions between them. The Alabama UCC applies to all personal property security

devices that are not subject to an exclusion provision, extending the redemption right(s) afforded

at common law to debtors in "weak title" devices (like chattel mortgages) and "lien" devices (like

pledges) to debtors in "strong title" devices (like conditional sales). See, e.g., Ala. Code §§ 7-9A-

109, 7-9A-623; see also Gilmore § 3.2, at 67 (explaining that, at common law, title retention

devices were looked on as "somehow 'stronger' than the 'weaker' lien devices of mortgage,

pledge…"). In fact, under the Alabama UCC (as under the UCC), even a seller's purported

retention of title in a purchase money transaction (i.e., a conditional sale) is effective to reserve

only a security interest, which, by definition and legal effect, is something less than absolute title.

See Ala. Code § 7-1-201(b)(35) (defining "security interest").

       Because chattel mortgages convey legal title, not merely a lien, a purported purchaser of

goods subject to a repurchase right pursuant to a written conveyance, like a bill of sale, can acquire

legal title to the good that is vested, at law, upon default if the secured party has possession of the

subject property (although the secured party's legal title would remain vulnerable to subsequently

created interests of the debtor if the secured party's possession of the good is insufficient to perfect

an Article 9A security interest). However, if the secured party in a secured credit transaction

nominally called a "sale" permits the debtor to retain possession of the purportedly purchased

good, the secured party's legal title remains defeasible, at law, upon default, like that of any other



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chattel mortgagee out of possession. Further, in all chattel mortgage transactions, the

debtor/mortgagor (or a subsequent transferee of the debtor/mortgagor) retains the equity of

redemption until foreclosure (i.e., absent a voluntary, enforceable transfer of the equity of

redemption by the mortgagor, the mortgagor holds equitable title to the mortgaged property, and

the mortgagee's legal title is defeasible in equity).

        This court sees no reason to conclude that Alabama's common law treatment of the equity

of redemption as a transferable property interest in mortgaged chattel has been displaced by the

UCC.    See generally id. § 7-1-103(b) (providing that "[u]nless displaced by the particular

provisions of this title, the principles of law and equity…supplement [the] provisions" of the

Alabama UCC); see also id. § 7-9A-623. Under part six of Alabama Article 9A, and absent a

voluntary post-default transfer by the debtor, it is only upon foreclosure (by disposition or

acceptance) that a debtor's rights in collateral are transferred to the debtor's secured party or its

transferee and the foreclosing party's security interest discharged. See id. §§ 7-9A-617(a), 7-9A-

622(a). Notably, Alabama Article 9A amended Old Alabama Article 9 to exclude holders of

security interests or other liens from the definition of debtor. Compare id. § 7-9A-102(a)(28)

(stating that "debtor" means "a person having an interest, other than a security interest or other

lien, in the collateral") with id. § 7-9-105(1)(d), repealed by Act 2001-481, p. 647 §1 (eff. Jan. 1,

2002) (stating that "[w]here the debtor and the owner of the collateral are not the same person, the

term 'debtor' means the owner of the collateral in any provision of this article dealing with the

collateral"); see Ala. Code § 7-9A-617; id. § 7-9A-102, off. cmt. 2(a) (stating "[s]ecured parties

and other lienholders are excluded from the definition of 'debtor' because the interests of those

parties normally derive from and encumber a debtor's interest"). As such, if there was a question,

under Old Alabama Article 9, as to whether legal title to mortgaged chattel that is vested at law



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(by virtue of the mortgagor's default, and the mortgagee's possession) is or is not synonymous with

"absolute" title to the collateral, the amendments to Old Alabama Article 9 codified by Alabama

Article 9A indicate that legal title and absolute title are not one and the same. See id.; see also id.

§ 7-9A-619(c) ("A transfer of the record or legal title to collateral to a secured party under

subsection (b) or otherwise is not of itself a disposition of collateral under this article and does not

of itself relieve the secured party of its duties under this article.").14 This is consistent with the

Alabama common law treatment of mortgages. See First Union Nat'l Bank, 75 So. 3d at 113.

         This is not to say that a debtor's equity of redemption is not still regarded as "bare" under

Alabama law, post-default, if the mortgagee is in possession of the mortgaged personalty—i.e.,

the debtor has no cognizable conversion claim for a secured party's post-default repossession. See

Wells v. Cent. Bank, N.A., 347 So. 2d 114, 120 (Ala. Civ. App. 1977) (explaining, however, that

a "debtor is not completely divested of all right and interest in the auto by default, neither is the

creditor vested with full power to do with the auto as wished"). Therefore, a debtor's non-temporal

redemption right (be it equitable or statutory) may still be an insufficient property interest under

Alabama Article 9A to compel a mortgagee's turnover of mortgaged property to a bankruptcy

trustee or debtor absent a proposal to pay the debt in full. See Lewis, 137 F.3d at 1283-84

(construing Old Alabama Article 9). However, Lewis does not prohibit the sale of an estate's equity



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   Under the Alabama UCC, record title to a vehicle is held by the person listed as the vehicle's owner on the vehicle's
certificate of title. See Ala. Code § 7-9A-619(b). Record title may be transferred via a UCC transfer statement before
legal or equitable title vests in the secured party, or its transferee, and before the secured party's security interest is
foreclosed, but a transfer of record title, pre-foreclosure, does not effect an absolute title transfer. See id. §§ 7-9A-
619(b), 7-9A-619 (c). Under the Alabama Certificate of Title Act, the interest of the owner must be terminated or the
vehicle sold under a security agreement by a lienholder named on the certificate for the transfer of record title to
transfer ownership. See id. § 32-8-46(b) (requiring that a lienholder's application for a new certificate of title recording
it, or its transferee, as record owner be accompanied by an affidavit made by or on behalf of the lienholder that the
vehicle was repossessed and that the interest of the owner was lawfully terminated or sold pursuant to the terms of the
security agreement); see also id. § 32-8-2(6), (7), (12), (18), (19) (broadly defining lien as any interest short of absolute
title, including interests conveyed by transactions that take the form of a sale subject to defeasance, a chattel mortgage,
or a conditional sale, and defining owner as "a person, other than a lienholder, having the property in or title to a
vehicle.").

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of redemption in mortgaged chattel under 11 U.S.C. § 363 merely because the estate's

representative lacks possession of the mortgaged property, nor does Lewis stand for the proposition

that a secured party may take affirmative action to foreclose an estate's equity of redemption in

mortgaged chattel, post-petition, without first obtaining relief from the automatic stay of 11 U.S.C.

§ 362. Further, as noted herein, a question exists as to whether an estate's equity of redemption,

though bare, is, nevertheless, a sufficient property interest to subject a mortgagee in possession to

treatment as the holder of a claim secured by a lien on the mortgaged property in bankruptcy. And,

in any case, when a debtor has both possession of the mortgaged property (leaving the mortgagee's

legal title defeasible at law and in equity) and a non-temporal redemption right on the bankruptcy

petition date, as was the case on Hambright's bankruptcy petition date, the debtor/mortgagor's

rights and interests in the mortgaged chattel are regarded as the functional equivalent of ownership

under Alabama law, subjecting the chattel mortgagee to treatment as a lienholder and secured

claimholder to the extent of the mortgaged property's value under Bankruptcy Code section 506(a),

at least for so long as the creditor remains a lienholder.

       For the foregoing reasons, TitleMax cannot point to its UCC security interest in the Vehicle

(or its possible status as a chattel mortgagee under Alabama common law) as the source of its

alleged absolute title to the Vehicle because, under the Alabama UCC and common law of chattel

mortgages, the legal title or lien granted to TitleMax by the Agreement remains both defeasible at

law and in equity. In other words, on the petition date, state law regarded Hambright as the owner

of the Vehicle (as against everyone other than TitleMax). Moreover, federal bankruptcy law

regarded TitleMax as a lienholder, because Hambright had both an equitable (non-temporal)

redemption right and a statutory (non-temporal) redemption right, possession of the Vehicle, a

contractual right to possession of the Vehicle, and record title to the Vehicle (all subject to



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TitleMax's attached, perfected security interest). Under the Alabama UCC and Alabama common

law (and absent a valid, authenticated post-default agreement), affirmative conduct (e.g.,

repossession and/or foreclosure) is required to indefeasibly vest legal title in (or transfer legal title

to) TitleMax at law, to merge TitleMax's legal title with the Estate's equitable title, and to

extinguish the Estate's UCC redemption and surplus rights, acts which the Bankruptcy Code

enjoins.15 Additionally, Hambright must get court approval to voluntarily convey the Estate's

rights to and property interest in the Vehicle to TitleMax or to agree to a strict foreclosure of the

Vehicle (at least for so long as those rights and interest remain property of the Estate). As such,

TitleMax looks to its rights as a pawnbroker under the Alabama Pawnshop Act to establish that

legal and equitable title to the Vehicle indefeasibly vested in TitleMax post-petition.

                 iv.      Pawn Transactions Generally

        A pawn is a personal property security device. See BLACK'S LAW DICTIONARY (11th ed.

2019) (pawn is defined as "1. [A]n item of personal property deposited as security for a debt; a

pledge or guarantee…In modern usage, the term is usually restricted to the pledge of jewels and

other personal chattels to pawnbrokers as security for a small loan. 2. The act of depositing

personal property in this manner. 3. The condition of being held on deposit as a pledge."). In a

pawn transaction, an item of personal property is deposited with a pawnbroker as security for a

debt. See id. (defining "pledge" and explaining "[T]he pledge is as old as recorded history and is

still in use, as the presence of pawnbrokers attests. In this transaction the debtor borrows money

by physically transferring to a secured party the possession of the property to be used as security,

and the property will be returned if the debt is repaid. Since the debtor does not retain the use of




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  TitleMax's interest in the Vehicle also remains subject to loss by inaction under the Alabama Certificate of Title
Act because it has not yet transferred record title to itself as a transferee. See Ala. Code § 32-8-64.1.

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pledged goods, this security device has obvious disadvantages from the debtor's point of view.")

(internal citations omitted).

         A transaction is subject to classification as a pawn transaction under the Alabama

Pawnshop Act if it is a "loan on the security of pledged goods" (subject to a redemption right), or

a "purchase of pledged goods" (subject to a repurchase right), by a licensed pawnbroker; however,

whether denominated a loan or a sale (and, by and large, a sale of tangible personalty subject to a

repurchase right is regarded as a chattel mortgage, not a true sale),16 the pledged good must be

"left with" the pawnbroker at the transaction's inception for the transaction to come within the

Act's definition of pawn transaction. See Ala. Code § 5-19A-2(3) (defining pawn transaction as

"[a]ny loan on the security of pledged goods or any purchase of pledged goods on condition that

the pledged goods are left with the pawnbroker and may be redeemed or repurchased by the seller

for a fixed price within a fixed period of time" and excluding from the definition of pawn

transaction "the pledge to, or the purchase by, a pawnbroker of real or personal property from a

customer followed by the sale or the leasing of that property back to the customer in the same or a

related transaction.") (emphasis added). In other words, although a chattel mortgage (unlike a

pledge) transfers conditional and defeasible legal title to the mortgaged property to the chattel

mortgagee (not merely a lien) in a nominal title-theory state like Alabama, and while a chattel

mortgage may be possessory or non-possessory in Alabama, only possessory chattel mortgages

are categorically included in the Alabama Pawnshop Act's definition of pawn transaction. To

conclude otherwise would render meaningless the Alabama Pawnshop Act's requirement that a


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   As discussed herein, a sale of personalty subject to a repurchase right typically is regarded, under Alabama common
law, as a secured credit transaction, not a true sale, and the UCC likewise puts substance over form. Gilmore writes
that bills of sale often were used in chattel mortgage transactions to "avoid some of the burdens and limitations of
mortgage law[,]" albeit with little success—"'the bill of sale mortgagee' found himself subject both to the mortgagor's
right to redeem the property and to the right of creditors and purchasers to avoid the mortgage on the ground that it
had not been properly recorded." Gilmore § 2.6, at 49-50. See also Gibson v. Warden, 81 U.S. 244, 247 (1871) ("A
'chattel mortgage' is only a bill of sale with a defeasance incorporated in it.").

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pledged good purchased by a pawnbroker subject to a repurchase right, or securing a loan by the

pawnbroker, be left by the pawnor with the pawnbroker at the transaction's inception.

         Notably, the Alabama Pawnshop Act does not prohibit a pawnbroker from acquiring a

non-possessory security interest in other collateral to secure a pawn transaction—only recourse

against the debtor personally is proscribed (see Ala. Code § 5-19A-8)—but, by definition, the

pledged good(s) subject to forfeiture in a pawn transaction (and subject to the Alabama Pawnshop

Act's statutory lien) are the item(s) of tangible personal property left with the pawnbroker by the

pawnor at the pawn's inception. See id. § 5-19A-2(6) (defining "pledged goods" as "[t]angible

personal property other than choses in action, securities, or printed evidences of indebtedness,

which property is purchased by, deposited with, or otherwise actually delivered into the possession

of, a pawnbroker in connection with a pawn transaction"); see also Ala. Code §§ 5-19A-10, 5-

19A-6.

         As with all other pre-UCC personal property security devices, pawns do not escape UCC

Article 9 absent a statutory exclusion. See id. § 7-9A-109(a) ("Except as otherwise provided in

subsections (c) and (d), [17] this article applies to: (1) a transaction, regardless of its form, that

creates a security interest in personal property"); Gilmore § 10.1, at 295-97; see also AP Doc. 13,

Ex. A at 4, ¶¶ 1, 3 (granting TitleMax security interests in the Vehicle and the Vehicle's certificate

of title). In Alabama, pawns are not categorically excluded from Alabama Article 9A. See Ala.

Code § 7-9A-109; see also Harkness v. EZ Pawn Ala., Inc., 724 So. 2d 32, 33 (Ala. Civ. App.

1998) ("Undoubtedly, 'pawn transactions in which a debtor consensually grants a pawnbroker a

security interest in goods…are secured transactions under Ala. Code § 7-9-101 et seq.'") (quoting

In re Mattheiss, 214 B.R. 20, 28 (Bankr. N.D. Ala. 1997) (Stilson, J.). Moreover, the Alabama


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  None of the statutory exclusions apply to the security interests granted by the Agreement. See Ala. Code § 7-9A-
109(c), (d).

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Pawnshop Act does not repeal or replace any provision of the Alabama UCC. See Ala. Code § 5-

19A-20 ("This chapter shall not repeal or be construed to repeal any provision of the Uniform

Commercial Code, Sections 7-1-101 et seq."). However, the Alabama Pawnshop Act will control

in the event of an actual conflict. See id. § 7-9A-201 (b), (c).

       One conflict derives from the Alabama Pawnshop Act's statutory forfeiture provision. See

generally id. § 5-19A-6. As noted above, both the Alabama common law and the Alabama UCC

void contractual provisions signed at the inception of a loan that purport to forfeit a debtor's

equitable title or UCC redemption and surplus rights in or to a good to a secured party, meaning

affirmative enforcement action by a secured party or a voluntary (post-default) transfer by a debtor

is required to indefeasibly vest both legal and equitable in a secured party under the Alabama

common law and Alabama UCC. The Alabama Pawnshop Act's forfeiture provision directly

conflicts, as it automatically transfers all right, title, and interest of a pawnor in pledged good(s),

at law and in equity, to the pawnbroker, if the pawnor fails to redeem (i.e., to regain possession of

the pledged good by payment of the agreed sum) within 30 days after the pawn transaction's

maturity. See id. ("A pledgor shall have no obligation to redeem pledged goods or make any

payment on a pawn transaction. Pledged goods not redeemed within 30 days following the

originally fixed maturity date shall be forfeited to the pawnbroker and absolute right, title, and

interest in and to the goods shall vest in the pawnbroker."). In other words, forfeiture effects an

involuntary transfer of all of the pawnor's rights in the pledged good (including any right to profits

realized by the pawnbroker upon disposition), without the necessity of any affirmative

enforcement action by the pawnbroker.

       Dating back to the 1896 Code of Alabama until the Alabama Pawnshop Act took effect in

1992, Alabama's pawn statutes required pawnbrokers to sell pledged items by advertised public



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auction; no pledge could be sold until 60 days after the date when the pledge was delivered to the

pawnbroker; and, until sale, the pawnor had the right to redeem. Id. §§ 8-1-81 to 8-1-83 (1975),

repealed by Acts 1992, No. 92-597 (eff. May 21, 1992); id. §§ 9-2-17 to 9-2-19 (1940, recompiled

1958); id. ch. 329 §§ 9411 to 9413 (1923); id. ch. 123 §§ 5293 to 5295 (1907); id. ch. 88 §§ 3245

to 3247 (1896). Thus, the codification of the Alabama Pawnshop Act in 1992 marked a departure

from prior pawnshop laws (and the common law) as pertains to a pawnor's right to redeem pledged

property from a licensed pawnbroker. In effect, forfeiture effects a pre-agreed strict foreclosure

of the pawnor's interest(s) in the pledged good(s). See In re Schwalb, 347 B.R. 726, 736 (Bankr.

D. Nev. 2006).18

         "Both strict foreclosure and the common law conditional sale rule work very well when the

value of the collateral and the amount of the secured obligation (plus the predictable expenses of

foreclosure) are roughly equivalents." Gilmore § 44.3, at 1220-21. However, both the Alabama

common law and Alabama UCC evolved to recognize that, in all secured credit transactions

(excepting consignments and sales of accounts, chattel paper, payment intangibles, or promissory

notes, see Ala. Code § 7-9A-601(g)), "[w]hen…the value of the collateral exceeds the amount of

the secured obligation…the debtor has an equity which should be preserved, either for the debtor

himself or, if he is insolvent, for his other creditors." Gilmore § 44.3, at 1221. Notably, high loan

to value ratios are characteristic of most pawn transactions.                    See generally Jim Hawkins,

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  [A] separate question is whether intervening liens and interests that attach to pledged good(s) pre-forfeiture are
extinguished by forfeiture. The Alabama Pawnshop Act subordinates a pawnbroker's statutory, possessory lien on
pledged goods to "the rights of other persons who have an ownership interest or prior liens in the pledged goods," but
does not speak, directly to junior liens or interests. See Ala. Code § 5-19A-10. Although the forfeiture provision is
broadly worded (see id. § 5-19A-6), forfeiture has not been construed as extinguishing interest(s) in pawned goods
acquired subsequent to the pawn but prior to the pawnor's forfeiture of the pledged good(s) to the pawnbroker. See
State ex rel. Morgan v. Thompson, 791 So. 2d 977, 979 (Ala. Civ. App. 2001) (plurality opinion) (holding seizure of
pawned property, prior to expiration of the pawnor's temporal redemption period, foreclosed characterization of the
pawnbroker as the property's owner in the criminal forfeiture proceeding).

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DISTRESS, 86 Ind. L.J. 1361, 1389-93 (2011). Thus, unlike the common law rationales for

permitting strict foreclosure and allowing forfeiture in conditional sales transactions, forfeiture in

pawn transactions often is justified by the assertion that the value of most pawned goods is small,

and that a pawnor, in choosing not to repay a loan, is electing to self-liquidate an item of personalty

that may have significant personal value but is not a valuable asset of the pawnor. Id.

       Ultimately, this is all to say that, while pawns in Alabama are secured credit transactions

governed by Alabama Article 9A, meaning forfeiture cannot be accomplished by agreement pre-

default, the Alabama Pawnshop Act can effect a post-default forfeiture of collateral to a

pawnbroker by operation of law, even absent a post-default agreement. Importantly, though,

forfeiture is the exception, not the rule, under Alabama Article 9A, and, therefore, whether an item

of collateral is subject to forfeiture to a pawnbroker depends on whether the collateral is (or is not)

a pledged good within the meaning of the Alabama Pawnshop Act. If collateral for a pawn

transaction is not a pledged good, it is not subject to forfeiture under the Alabama Pawnshop Act,

and the Alabama UCC and Alabama common law control the parties' respective rights and

obligations in the collateral (not the Alabama Pawnshop Act's forfeiture provision).

               v.      Forfeiture of Pledged Goods in Bankruptcy

       In 2005, Congress amended the Bankruptcy Code to exclude, with certain exceptions, a

debtor's property interest(s) in pledged goods from the debtor's estate if the debtor or trustee fails

to timely regain possession by payment of the secured obligation. Specifically, Congress enacted

section 541(b)(8) as part of the Bankruptcy Abuse Prevention and Consumer Protection Act, which

excludes from a bankruptcy estate the following interests in property:

       subject to subchapter III of chapter 5, any interest of the debtor in property where
       the debtor pledged or sold tangible personal property (other than securities or
       written or printed evidences of indebtedness or title) as collateral for a loan or



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       advance of money given by a person licensed under law to make such loans or
       advances, where—

       (A) the tangible personal property is in the possession of the pledgee or transferee;

       (B) the debtor has no obligation to repay the money, redeem the collateral, or buy
       back the property at a stipulated price; and

       (C) neither the debtor nor the trustee have exercised any right to redeem provided
       under contract or State law, in a timely manner as provided under State law and
       section 108(b)[.]

11 U.S.C. § 541(b)(8). As only post-petition transfers of estate property are avoidable under

Bankruptcy Code section 549, the exclusion of a pawned item from a bankruptcy estate at the

delineated point of default presumably renders section 549 inapplicable to any resulting forfeiture

of the debtor's property interest(s) to the secured party (though stay relief may still be necessary if

affirmative conduct by the secured party is necessary for the secured party to acquire or extinguish

a debtor's rights or interests in a good). See id. § 549(a); see also In re Sorensen, 586 B.R. 327,

334-36 (B.A.P. 9th Cir. 2018); Cash Am. Advance, Inc. v. Prado, 413 B.R. 599, 604-08 (S.D. Tex.

2008); 5 COLLIER ON BANKRUPTCY ¶ 541.24.

       In a chapter 13 case, a trustee generally will not have the right to use estate property to

redeem a pawned good. See generally 11 U.S.C. § 363(b), (d), (e), (f), (l); see also id. § 1303.

Thus, it falls to the chapter 13 debtor to redeem (though bankruptcy court approval may be needed

if estate property is to be used to fund a redemption). Although section 108(b) speaks only to the

rights of a trustee (not a debtor) (compare id. § 108(b) with id. § 1322(b)(3)), and is not made

applicable to debtors by Bankruptcy Code section 1303 (see In re Cumbess, 960 F.3d 1325, 1334

(11th Cir. 2020) (discussing Congress's appreciation of "the important distinction between the

'trustee' and the 'debtor'" in section 1303)), it is expressly applicable to a debtor's timeframe to

redeem property covered by 541(b)(8)'s exclusion from the estate (see 11 U.S.C. § 541(b)(8)(C)),



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presumably foreclosing a debtor invoking section 1322(b)(3) to cure or waive a payment default

that triggers forfeiture. See generally W. Homer Drake, Jr., Paul W. Bonapfel, & Adam M.

Goodman, CHAPTER 13 PRACTICE & PROCEDURE § 14:16 (2021 ed.) ("Exclusion of 'pawned'

property from property of the estate—§ 541(b)(8)").

        Although pawns are treated differently than other secured credit transactions (both in and

outside of bankruptcy), it is important to note that, in Alabama at least, forfeiture is the mode by

which the pawnbroker acquires indefeasibly vested legal and equitable title to a pledged good.

Until forfeiture occurs, the pawnbroker holds no more than a security interest (subject to

characterization as a lien, if the transaction is a mere pledge, or as conditional and defeasible legal

title, if the transaction is a chattel mortgage), apart from the pawnbroker's statutory lien on the

pledged good(s) under the Alabama Pawnshop Act. See, e.g., Morgan v. Thompson, 791 So. 2d at

978-79. Thus, forfeiture, in most, if not all, Alabama pawn transactions, effects a transfer (as

defined by the Bankruptcy Code)—as forfeiture is the mode by which the pawnor (or the pawnor's

estate, if forfeiture occurs post-petition) is divested of the pawnor's UCC surplus and redemption

rights in the pledged good(s) and by which the pawnor's property interest(s) in the pledged good(s)

(i.e., legal and/or equitable title) pass to the pawnbroker. When section 541(b)(8) is inapplicable—

and the Eleventh Circuit has concluded that title loans are excepted from this exclusion provision

(see Northington, 876 F.3d at 1314, n.9)—the statutory exclusion provides no Bankruptcy Code

safe harbor for a post-petition transfer of estate property effected by a state law forfeiture provision.

This is not to say that such a transfer is not authorized by the Bankruptcy Code—it simply is not

authorized by Bankruptcy Code section 541(b)(8)—nor is it to say that inapplicability of

Bankruptcy Code section 541(b)(8) to a particular pawn transaction is determinative of the

pawnbroker's status in bankruptcy.



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         In Northington, for instance, the Eleventh Circuit held that the chapter 13 debtor was not

entitled to treat the Georgia pawnbroker as a secured creditor—notwithstanding the inapplicability

of Bankruptcy Code section 541(b)(8)—because, on the petition date, the debtor held only a

temporal right to regain title to, and possession of, the pawned property (not legal or equitable title

or a present right of possession). 876 F.3d at 1306 (describing the debtor's right to "regain title"

to the car by timely paying the secured obligation); id. at 1306, n.2 (noting the pawnbroker's

statutory right to take possession during the redemption period); id. at 1309-10 (characterizing the

interests that entered the estate as a "right to possess" and a "right to redeem"). Holding that the

automatic stay did not indefinitely toll the natural expiration of the debtor's temporal right to retain

possession and redeem beyond the timeframes established by 108(b), and likening the debtor's

right to redeem the pawned good to an option, expiration of the right (pre-confirmation) was held

to foreclose treatment of the pawnbroker as a lienholder in the debtor's chapter 13 plan. Id. at

1313-15. It bears mention that, in Northington, forfeiture was not expressly treated as divesting

the debtor (or the debtor's estate) of any property interest in the vehicle, as the Circuit concluded

or assumed that no legal or equitable property interest in the pawned vehicle entered the estate.19

The estate's only identified "property" was the temporary right to re-acquire title to the vehicle,

which right met its natural (albeit extended) expiration post-petition, and a bare possessory interest.

Northington's conclusion, in reliance on the canon against negative implication, that the debtor's

temporal redemption right was not frozen in the estate by virtue of section 541(b)(8)'s exception

of title pledges from the provision's exclusion (see id. at 1314 n.9), does not mean the Circuit

viewed the exceptions to section 541(b)(8)'s exclusion as of no import in bankruptcy. An equally

important tenant of statutory construction, the canon against surplusage (see Klee & Holt at 18


19
  The Circuit also did not expressly address the impact of forfeiture of a pledgor's interests in pledged goods under
the Georgia pawn statutes on a bankruptcy trustee's hypothetical judgment lien.

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n.92 (collecting cases)), dictates that courts should not treat the exceptions to the statutory

exclusion as meaningless if such interpretation can be avoided.

       As discussed above, in Alabama at least, it is only upon forfeiture that legal and equitable

title to pledged goods merge and vest in a pawnbroker by operation of state law. The court finds

no legal authority to support the conclusion that an Alabama pawnbroker acquires indefeasibly

vested legal or equitable title to pledged goods prior to forfeiture of the goods. However, before

the court considers the implications of a post-petition forfeiture that divests a bankruptcy estate of

a property interest—as distinguished from the post-petition expiration of a statutory right to regain

such a property interest—the court must first consider what was forfeited in this proceeding and

the consequences of forfeiture as a matter of state law.

               vi.     Title Loans in Alabama

       The Loan is referred to as a title loan because Hambright pledged the Vehicle's certificate

of title to secure the Loan, but retained possession of the Vehicle. Typically, title loans are short

term, non-purchase money, non-possessory loans. Perhaps because they are non-possessory

secured credit transactions (and greater reliance is placed on collateralization than credit

worthiness), loan to value ratios in title loan transactions often are very high. See Lynn Drysdale

& Kathleen E. Keest, THE TWO-TIERED CONSUMER FINANCIAL SERVICES MARKETPLACE: THE

FRINGE BANKING SYSTEM        AND ITS   CHALLENGE      TO   CURRENT THINKING ABOUT       THE   ROLE   OF

USURY LAWS IN TODAY'S SOCIETY, 51 S.C. L. Rev. 589, 597–600 (2000).

       It is difficult to conceptualize a vehicle certificate of title pledge in exchange for a loan as

anything other than a personal property security device, and, as noted above, personal property

security devices do not escape Article 9 of the UCC, absent legislative action. See UCC § 9-109;

see also Gilmore § 10.1, at 297 ("If in the future new needs do require something in the nature of



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a new 'device,' the need will have to be met by legislative action. [Article 9] forecloses solution

by judicial improvisation."). However, title loans appear to be a relatively modern (post-UCC)

security device, and states have taken varying approaches to their treatment. Some states have

specifically addressed title loans by statute,20 while others have left it to the courts and

governmental agencies and officials to determine which statutes govern title loans and to what

extent. 21 Even within these two broad groups, there is tremendous variation in how title loans are

treated.



20
   See, e.g., Alaska Stat. Ann. § 08.76.590 (excluding "title to property" from the definition of "personal property" that
may be pledged to a pawnbroker); Conn. Gen. Stat. Ann. § 21-39 (excepting loans on intangible property including
"written or printed evidence of ownership of property" from chapter 409 of title 21 governing pawnbrokers and pawn
transactions); Del. Code Ann. tit. 5, §§ 2250 et seq. (regulating title loans); Fla. Stat. Ann. § 539.001 (excluding
certificates of title from the pawn statute's definition of "pledged goods"); Fla. Stat. Ann. § 537.001 et seq. (regulating
title loans); Ga. Code Ann. § 44-12-130 (treating certificate of title pledges as vehicle pawns); Haw. Rev. Stat. Ann.
§ 445-134.13 (prohibiting pawnbrokers from accepting vehicles as pledged goods or certificates of title as "evidence
of possession of pledged goods"); Idaho Code Ann. §§ 28-46-501 et seq. (regulating title loans); 205 Ill. Comp. Stat.
Ann. 510/1 (excluding individuals and entities that "lend money on the deposit or pledge of "printed evidence of
ownership of [] personal property" from the statute's definition of pawnbroker); Iowa Code Ann. § 537.2403 (capping
interest rates in title loan transactions); Ky. Rev. Stat. Ann. §§ 286.10-200 et seq. (regulating title loans); La. Stat.
Ann. § 37:1801 (prohibiting "title only" pawn transactions); Me. Rev. Stat. tit. 30-A, § 3960(3) (excluding "documents
evidencing title to motor vehicles" from the pawn statute's definition of "tangible personal property"); Mass. Gen.
Laws Ann. ch. 140, § 76 (excluding loans on written evidences of ownership of property from certain statutes
applicable to pawnbrokers); Minn. Stat. Ann. § 325J.095 (establishing requirements for pawnbrokers that make title
loans); Minn. Stat. Ann. § 47.602 (regulating title lenders that are not licensed pawnbrokers); Miss. Code. Ann. §§
75-67-401 et seq. (regulating title loans); Mo. Rev. Stat. Ann. §§ 367.512 et seq. (regulating title loans); Nev. Rev.
Stat. Ann. §§ 604a.5065 (regulating title loans); N.H. Rev. Stat. Ann. §§ 399-a:1 et seq. (regulating title loans); Ohio
Rev. Code Ann. § 4727.08(E) (requiring that a pawnbroker take possession of both the motor vehicle and the certificate
of title to the motor vehicle in a motor vehicle pawn transaction); Or. Rev. Stat. Ann. §§ 725A.010 et seq. (regulating
title and payday loans); S.C. Code Ann. § 40-39-10 (excluding certain vehicles and "title" from the pawnbroker
statute's definition of "pledged goods"); S.D. Codified Laws §§ 54-4-70 to 54-4-72 (regulating title loans); Tenn. Code
Ann. § 45-6-203(8) (excluding title documents from the pawn statute's definition of "pledged goods"); Tenn. Code
Ann. §§ 45-15-101 et seq. (regulating title loans); Utah Code Ann. §§ 7-24-101 et seq. (regulating title loans); Va.
Code Ann. § 54.1-4000 (excluding persons who lend or advance money on the pledge of printed evidences of title
from the statute's definition of "pawnbroker"); Va. Code Ann. §§ 6.2-2200 et seq. (regulating title loans); W. Va.
Code Ann. § 47-26-1(b) (stating pawn transactions do not include transactions where titles are used as security).
21
    See, e.g., In re Schwalb, 347 B.R. 726, 748-49 (Bankr. D. Nev. 2006) (holding that title pawn transactions are
subject to Nevada's codification of UCC Article 9 and, therefore, the pawn ticket's contractual forfeiture provision
was unenforceable); In the Matter of Cash-N-Go, Inc., C-01-CV-20-000101 (Md. Cir. Ct. for Allegany Cnty. Aug. 9,
2021), available at https://www.marylandattorneygeneral.gov/news%20documents/081121_Cash_N_Go_Memo.pdf
(last visited November 18, 2021) (affirming a final order issued by the Consumer Protection Division of the Office of
the Maryland Attorney General dated February 18, 2020, which found that a title loan is not a valid pawn transaction
and that the title lender had made unlicensed consumer loans, charged usurious interest rates, made deceptive and
misleading statements, failed to state material facts, and engaged in other illegal activity); Colo. Dep't of Law
Consumer Prot. Section, Admin. Interpretation, No. 1.202-9401 (Aug. 31, 1994), available at
https://coag.gov/app/uploads/2019/07/1994-08-31_1.202-9401_pawnbrokers.pdf (last visited November 18, 2021)

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         Notably, unlike Georgia's pawn laws (the subject of Northington), which (1) deem a title

lender to have possession of a vehicle by virtue of its possession of the vehicle's certificate of title,

(2) give such a title lender a statutory right to possession of the vehicle pre-default, and (3)

categorically include vehicle certificates of title in the state's definition of pledged goods22—the

Alabama Pawnshop Act says nothing at all about title loans or certificate of title pledges.

Moreover, in Alabama, there are no statutes that specifically regulate title loans. However, in

1993, shortly after the Alabama Pawnshop Act took effect, the Alabama Supreme Court held, in

Floyd v. Title Exch. and Pawn of Anniston, Inc., 620 So. 2d 576 (Ala. 1993), that a paper certificate

of title is capable of possession and is not a chose in action and, therefore, is property that may be

pledged under the Alabama Pawnshop Act. See id. at 579. Thus, under Alabama law, a paper

certificate of title is regarded as tangible, pledgeable personalty under the Alabama Pawnshop Act.

         That said, in subsequent cases, the Alabama Supreme Court has narrowly construed its

holding that a paper certificate of title is tangible, pledgeable personalty within the meaning of the



("It is the position of the Administrator of the Colorado Uniform Consumer Credit Code that 'auto-pawn' transactions
are in fact secured loans when the pawnbroker does not retain possession of the vehicle.").
22
   See Ga. Code Ann. § 44-12-130 ("'Pledged goods' means tangible personal property, including, without limitation,
all types of motor vehicles or any motor vehicle certificate of title, which property is purchased by, deposited with, or
otherwise actually delivered into the possession of a pawnbroker in connection with a pawn transaction. However, for
purposes of this Code section, possession of any motor vehicle certificate of title which has come into the possession
of a pawnbroker through a pawn transaction made in accordance with law shall be conclusively deemed to be
possession of the motor vehicle, and the pawnbroker shall retain physical possession of the motor vehicle certificate
of title for the entire length of the pawn transaction but shall not be required in any way to retain physical possession
of the motor vehicle at any time. 'Pledged goods' shall not include choses in action, securities, or printed evidences of
indebtedness."); see also id. § 44-12-131 (a)(3) ("Unless otherwise agreed, a pawnbroker has upon default the right to
take possession of the motor vehicle."); id. § 44-12-131(a)(4)(C) (permitting certain fees in pawn transactions
involving motor vehicles or motor vehicle certificates of title, including a lien recordation fee); id. § 44-12-138(15)
(requiring, "if the pawn transaction involves a motor vehicle or motor vehicle certificate of title," that the pawnbroker
deliver a written disclosure to the pledgor stating "that the pawnbroker may charge a fee to register a lien upon the
motor vehicle certificate of title, not to exceed any fee actually charged by the appropriate state to register a lien upon
a motor vehicle certificate of title… but only if the pawnbroker actually places such a lien upon the motor vehicle
certificate of title"); id. § 44-14-400 (making the pawnbroker's statutory lien on pledged goods inferior to judgment
liens and other general liens reduced to execution and levy); id. § 44-14-403(a) (giving pawnbrokers a statutory lien
on pledged goods and the right to retain possession of the pledged goods until the lien is satisfied); id. § 44-14-
403(b)(3) (providing for the automatic extinguishment of any "ownership interest of the pledgor or seller as regards
the pledged item" upon expiration of the statutory grace period for redeeming); id. § 44-14-408 (making provision for
the satisfaction of pawnbroker liens).

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Alabama Pawnshop Act, stating "Floyd holds only that 'an automobile certificate of title is

"tangible personal property" within the meaning of the Alabama Pawnshop Act,' and that 'money-

lending transactions involving the transfer of automobile certificates of title for the purpose of

giving security are "pawn" transactions.'" Ex parte Coleman, 861 So. 2d 1080, 1086 (Ala. 2003)

(emphasis added) (quoting Blackmon v. Downey, 624 So. 2d 1374, 1376 (Ala. 1993)). The

undersigned finds no Alabama Supreme Court case, and TitleMax cites to none, wherein the

Alabama Supreme Court has held that a vehicle in a title loan transaction is also a pledged good

within the meaning of the Alabama Pawnshop Act.

        Significantly, a certificate of title is not a document of title. See Ala. Code §§ 7-1-

201(b)(16), 7-7-201(b), 7-9A-102(a)(30); see also Schwalb, 347 B.R. at 745-47 (rejecting a title

lender's constructive possession argument because a certificate of title is not a document of title

under the UCC); Matter of Emergency Beacon Corp., 665 F.2d 36, 41-42 (2d Cir. 1981)

(concluding that "a vehicle certificate of title is not a 'document of title' as the latter term is used

by the U.C.C."); Nat'l Exch. Bank of Fond du Lac v. Mann, 260 N.W.2d 716, 719 (Wisc. 1978)

("Automobile certificates of title have not generally been accorded the legal status of documents

of title as that term is used in the Uniform Commercial Code because vehicle certification statutes

based upon the Uniform Act do not recognize a pledge of the certificate as effective to perfect an

interest"); Gilmore § 20.5, at 566 (noting that title to a vehicle is not "locked up" in a vehicle

certificate of title in the same manner as title is "locked up" in a document of title because, under

the Uniform Motor Vehicle Certificate of Title and Anti-Theft Act, the pledge of a vehicle's

certificate of title is not effective to perfect an interest in the vehicle); see also id. § 1.4, at 17 ("The

most important feature of a negotiable document of title is that the issuer is entitled to deliver the

goods only to a holder of the document and is required to take up and cancel the document when



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delivery is made"). A document of title is a document that gives the holder both title to and a right

to possession of goods in the possession of a bailee (typically a warehouseman or carrier). And,

under the UCC, even a document of title must be negotiable for the secured party's possession of

the document to give the secured party a perfected security interest in both the document of title

and the goods covered thereby.       See Ala. Code §§ 7-9A-312, 7-9A-313(a), (c); see Gilmore §

14.1, at 439 ("This…represents a change from pre-Code law in the case of non-negotiable

documents of title, which had always been looked on as pledgeable"). Further, if the collateral is

not a document of title (negotiable or non-negotiable), a secured party is not given the right to

proceed both as to the document and the goods covered by the document upon default. See Ala.

Code § 7-9A-601(a). In other words, under the UCC, "a record or writing stands proxy for goods

it covers only if it is a [UCC] 'document of title.'" Schwalb, 347 B.R. at 745-46.

        Also significantly, a record owner's delivery of an unendorsed certificate of title does not

evidence an absolute title transfer, see Ala. Code § 32-8-44(a), nor is a record owner's retention of

a certificate of title sufficient to prevent, as between the parties, the passage of title from the seller

to the buyer. Wood Chevrolet Co., Inc. v. Bank of the S.E., 352 So.2d 1350, 1352-53 (Ala. 1977)

("[N]on-delivery of a certificate of title at the time of a sale does not prevent the passage of title

from the seller to the buyer."); Crum v. Southtrust Bank of Ala., N.A., 598 So. 2d 867, 872 (Ala.

1992) ("[Seller] also failed in his attempt to retain title to the used automobiles by holding the

certificates of title."). A certificate of title is prima facie evidence of the record owner's ownership

(and of any record liens), but these presumptions are rebuttable. See Ala. Code § 32-8-39(d);

Ranger Ins. Co. v. Whitlow, 514 So. 2d 1338, 1342 (Ala. 1987) ("The certificate of title only

'establishes prima facie title in the person whose name appears on the certificate…; this

presumption of ownership can be rebutted by other indicia of ownership."); Ledbetter v. Darwin



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Dobbs Co., Inc., 473 So. 2d 197, 201 (Ala. Civ. App. 1985) ("[T]here is a transaction of purchase

when there is a delivery of possession from the seller…to the buyer…with the intent that the

buyer…become the owner.").

       The pledge of an endorsed certificate of title may be sufficient to give a lender a security

interest in the vehicle, as the endorsed certificate is a writing signed by the debtor that evidences

the transfer of an interest in the vehicle to the secured party (see Ala. Code § 7-9A-203(b));

however, the secured party's possession of such a certificate would not perfect the security interest

in the vehicle (for that, recordation of the secured party as lienholder is required, with limited

exceptions not applicable here). See id. §§ 7-9A-311, 7-9A-313(b), 7-9A-316(d), 32-8-2(18), 32-

8-2(19), 32-8-61(b), 32-8-62. Moreover, just as a bill of sale subject to a repurchase right can be

characterized as a chattel mortgage when given to secure a debt, delivery of an endorsed certificate

of title subject to a redemption or repurchase right likely would not effect an absolute title transfer

under the common law of Alabama or escape classification as a secured credit transaction under

the Alabama UCC.

       Notably, no security interest attaches to a vehicle by virtue of a debtor's possession and

delivery of the vehicle's unassigned certificate of title to the debtor's lender if the delivery is

unaccompanied by a written security agreement. See Pressley, 100 So. 3d at 1060, 1065-69 (debtor

orally agreed to give his grandmother a lien on his vehicle in exchange for the purchase money

and delivered the certificate of title to her; oral agreement held not to constitute a valid security

agreement under Ala. Code § 7-9A-203(b)). And, even the fact that a debtor has possession of a

vehicle certificate of title and is listed as the record owner does not conclusively establish that a

security agreement signed by the debtor is enforceable; in other words, a security interest cannot

attach to a vehicle that the debtor has already sold merely because record ownership has not been



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transferred from the debtor to the debtor's purchaser. Emergency Beacon Corp., 665 F.2d at 42;

Nat'l Exch. Bank, 260 N.W.2d at 718-19.

        When a secured party involuntarily transfers record title to itself (or a transferee) by

executing the assignment and warranty of title section of a certificate of title (i.e., endorsing the

certificate) and making application for a new certificate of title—which application, in Alabama,

must be accompanied by an affidavit attesting to the secured party's repossession of the vehicle

see Ala. Code § 32-8-46(b)—the secured party is enforcing its rights under its security agreement,

not the certificate of title recording its lien. See id. And, in the case of a voluntary title transfer, a

bill of sale or other evidence of an absolute title transfer must be submitted to the Alabama

Department of Revenue along with the assigned certificate to obtain a new certificate of title

recording the transferee as the record owner. See Ala. Admin. Code r. 810-5-75-.36. In other

words, though a certificate of title has quasi-negotiable qualities, it does not appear that even an

endorsed certificate is regarded as a bearer instrument capable of transferring ownership of the

covered vehicle solely by the record owner's delivery of the certificate to the named assignee,

much less that an unendorsed certificate is subject to such classification (the delivery of which is

ineffective to transfer or perfect a security interest in the vehicle). In other words, by statute, the

assignment of a certificate of title is evidence of a title transfer, but it is not, necessarily, a substitute

for a valid instrument of conveyance. See Ala. Code §§ 32-8-39(d), 32-8-44(a); Crowley v. State

Farm Mut. Auto. Ins. Co., 591 So. 2d 53, 55 (Ala. 1991) (explaining that "the absence of ownership

indicated by the absence of a certificate of title ... can be rebutted by other evidence of ownership.

For example, ownership or a transfer of ownership can be established by evidence of a party's

taking possession of the vehicle; by evidence of a bill of sale that manifests an intent to sell and




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transfer the vehicle and to grant dominion and control over it; and by evidence of a transfer of

money for the vehicle.").

         Fundamentally, then, a vehicle certificate of title is a record, the legal significance of which

lies in the information recorded thereon and presumptively evidenced thereby. In other words, a

certificate of title is not intended to operate as an assignment or transfer but, instead, as evidence

of an assignment or transfer (be it absolute or conditional). A certificate of title is not a substitute

for the vehicle described therein. The right to possess a certificate of title turns on whether the

person in possession holds record title or a lien. See Crum, 598 So. 2d at 873; Ala. Code § 32-8-

41. However, possession of a certificate of title is not determinative of the question of where title

to the covered vehicle lies. See Pressley, 100 So. 3d at 1060, 1065-69; Crum, 598 So. 2d at 873;

Wood Chevrolet Co., 352 So. 2d at 1352-53. And ownership of a certificate of title (to the extent

the record is capable of ownership)23 follows the title to the vehicle, not the other way around. See,

e.g., Crum, 598 So. 2d at 873 (holding the record owner had sold vehicle to plaintiff, entitling

plaintiff to possession of the operative certificate of title and issuance of a new certificate of title

recording plaintiff as owner and record owner's secured creditor as lienholder).

         Here, there is no allegation that the Original Certificate or the Replacement Certificate was

validly assigned or endorsed by Hambright; thus, neither the information recorded on the

certificates, nor the delivery of the certificates to TitleMax, is effective to transfer a valid security


23
   See, e.g., Ala. Code § 35-4-9 ("Instruments essential to the title of real property and which are not kept in a public
office, as a record, pursuant to law, belong to the person in whom for the time being such title may be vested and pass
with the title") (emphasis added). Generally speaking, a thing may be "property" if it is capable of ownership or if
possession of it confers a benefit on the person in possession. See, e.g., Gleason v. Thaw, 236 U.S. 558, 561 (1915)
(stating property "denotes something subject to ownership, transfer, or exclusive possession and enjoyment, which
may be brought within the dominion and control of a court through some recognized process."); Reiter v. Sonotone
Corp., 442 U.S. 330, 338 (1979) ("[T]he word 'property' has a naturally broad and inclusive meaning. In its dictionary
definitions and in common usage 'property' comprehends anything of material value owned or possessed.") (internal
citations omitted); BLACK'S LAW DICTIONARY defines "property" as "[A]ny external thing over which the rights of
possession, use, and enjoyment are exercised." See Property, BLACK'S LAW DICTIONARY (11th ed. 2019). As such,
a certificate of title need not be capable of ownership to be pledgeable.

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interest in the Vehicle, or legal title or absolute title to the Vehicle, to TitleMax. However, there

is a separate written security agreement, which granted TitleMax a security interest in the Vehicle

and might be sufficient to transfer conditional and defeasible legal title to the Vehicle to TitleMax

under the Alabama common law of chattel mortgages (in either case, the interest is subject to

classification as a lien under the Bankruptcy Code and the Alabama Certificate of Title Act).

Under the Alabama Certificate of Title Act, TitleMax has the right to transfer record title to itself

or a transferee upon default and repossession. Thus, if one construes the Alabama Supreme Court's

holding that there be a "transfer of a certificate of title as security" as requiring that the vehicle

described in the certificate (and not merely the certificate itself) secure the title loan transaction,

or as requiring that the debtor transfer at least conditional and defeasible legal title to, or a lien on,

the vehicle to the pawnbroker, this undoubtedly is the case (albeit due to the parties' security

agreement, not the pledge of the Original Certificate or the Replacement Certificate).

         Moreover, Hambright delivered the Original Certificate to TitleMax at the inception of the

first loan. Hambright did not give up possession of the Replacement Certificate, as Hambright

never had (and was never entitled to have) possession of it (see Ala. Code § 32-8-41), but there

was a parting with control of the Original Certificate at the time of the initial loan transaction.

And, the court assumes for purposes of this opinion that, at the time of the Loan, the Replacement

Certificate was maintained in tangible form and was and remains in the possession of TitleMax.

Therefore, the court also assumes, for purposes of this opinion, that Loan is subject to classification

as a pawn transaction and that the Replacement Certificate is subject to characterization as a

pledged good. 24


24
   Hambright's answer to the Complaint avers that the transaction is not a valid pawn transaction. (See AP Doc. 7 at
3.) For purposes of the court's ruling on the pending summary judgment motions, the court assumes that the transaction
is subject to characterization as a pawn transaction. As the court concludes that characterization of the transaction as
a pawn is not, ultimately, determinative of the question of the parties' respective rights and interests in the Vehicle,

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         While this court cannot say, conclusively, that forfeiture of a validly endorsed certificate

of title does not effect an absolute title transfer (as this is not at issue here), even a good sold

subject to a repurchase right (i.e., a good mortgaged as a matter of Alabama common law, not

merely pledged) must be left with the pawnbroker for the transaction to be regarded as a pawn,

and the good sold/mortgaged to be regarded a pledged good under the Alabama Pawnshop Act.

See id. § 5-19A-2(4). Given this distinction, it does not appear that the Alabama legislature

intended for non-possessory chattel mortgagees to receive the same rights, upon default, as

possessory chattel mortgagees, and the court sees no conflict between the Alabama UCC and the

Alabama Pawnshop Act in recognizing and giving effect to the rights of a debtor/mortgagor in

possession. The Alabama Pawnshop Act plainly contemplates that the pawnbroker will take

possession of any pledged good, and that the pawnor will part with possession. See id. § 5-19A-

2(4), (6). The Alabama Pawnshop Act's statutory lien is dependent upon possession. See id. § 15-

19A-10 ("The pawnbroker shall retain possession of the pledged goods except as otherwise herein

provided until the lien is satisfied."). The pawnbroker must hold pledged goods (be they purchased

by, or pledged to, the pawnbroker) for a period of time. See id. § 5-19A-5(c), 5-19A-10(b). The

Alabama Pawnshop Act does not prohibit a pawnbroker from taking additional collateral for a

pawn. Certainly, when the thing pawned is a writing, the writing must not be a chose in action

(i.e., it must be at "least a little bit negotiable," see Gilmore § 1.3, at 16), which was not the case

under Alabama's prior pawn laws (which permitted the pawning of choses in action). Compare

Ala. Code § 5-19A-2(6) with id. § 8-1-80(a) (1975), repealed by Acts 1992, No. 92-597 (eff. May


the court need not reach this issue to dispose of the AP. However, if the court's state law conclusions are erroneous,
further proceedings to determine whether the transaction is or is not a pawn may be necessary, as the court cannot,
based on the record before it, definitively answer this question. Without limitation, it is unclear whether the Vehicle's
certificate was maintained in tangible or electronic form at the time of the Loan (see Ala. Code § 32-8-41), and a
question exists as to whether the Agreement contains a provision requiring the personal liability of Hambright. See
Agreement (AP Doc. 13, Ex. A at 8, ¶¶ 22(l); Ala Code § 5-19A-8; Complete Cash Holdings, LLC v. Fryer, 297 So.
3d 1223, 1232 n.9 (Ala. Civ. App. 2019).

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21, 1992) ("Every person engaged in the business of pawnbroking must, upon receiving as security

for the loan of money or other thing of value any personal property or chose in action, enter in a

book a full description thereof…") (emphasis added). But, it does not follow that the right bound

up in an endorsed certificate of title is absolute ownership of the vehicle described therein when

the transaction is a secured credit transaction and the vehicle covered by the certificate is not, itself,

subject to the Alabama Pawnshop Act's forfeiture provision.

        Of course, it is largely irrelevant that the undersigned is not satisfied that forfeiture of a

validly endorsed certificate of title to a pawnbroker effects an unconditional and indefeasible

transfer of title to the vehicle described therein because, here, there is no allegation that the

forfeited certificate was assigned by Hambright. In other words, the Replacement Certificate does

not even purport to transfer title from Hambright to the secured party (conditional or absolute). It

records TitleMax as first lienholder, but TitleMax's security interest in (i.e., its lien on or

conditional and defeasible legal title to) the Vehicle derives from the security agreement included

as part of the Agreement, not the pledge of the Replacement Certificate. The pledge and

recordation of TitleMax as lienholder on the Replacement Certificate, and TitleMax's retention of

possession of the Replacement Certificate, are merely means by which TitleMax's Article 9

security interest in the Vehicle is perfected and preserved for a period of time.

        Accordingly, the assertion that forfeiture, under the Alabama Pawnshop Act, vested

TitleMax with absolute title to the Vehicle is only plausible if the Vehicle, itself, is a pledged good.

If the Vehicle is not a pledged good, forfeiture of the Replacement Certificate is of little

consequence, as the Debtor has no right to possession of the Replacement Certificate until

TitleMax's security interest in the Vehicle is satisfied, deemed satisfied, or discharged. See Ala.

Code § 32-8-41.      However, if TitleMax's security interest in the Vehicle is discharged in



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Hambright's bankruptcy, Hambright will be statutorily entitled to a release of TitleMax's rights on

the certificate or a new certificate of title for the Vehicle recording that she owns the Vehicle free

of TitleMax's interest. See id. § 32-8-64(a).

       Ultimately, were the court to look at the plain language of the Alabama Pawnshop Act,

alone, the court would have little trouble concluding that the Vehicle is not a pledged good within

the meaning of the Act, as it was not left with TitleMax or otherwise delivered into the possession

of TitleMax but has, instead, remained in Hambright's possession. Further, the court would have

little trouble applying the Alabama UCC and (nondisplaced) Alabama common law to determine

the parties' and Estate's respective rights and interests in the Vehicle (as distinguished from the

operative certificate of title), given that the Loan Agreement plainly evidences a secured credit

transaction, and the Alabama Pawnshop Act's forfeiture provision is a narrow, codified exception

to the Alabama UCC's anti-forfeiture provisions and the Alabama common law's anti-forfeiture

rules. Additionally, the court does not believe it was commercially reasonable for TitleMax to

expect that all of Hambright's (and now her Estate's) rights to and interest in the Vehicle would be

forfeited to it on default as (1) Hambright was permitted to retain and use the Vehicle; (2) the

Alabama UCC and common law invalidate the Agreement's contractual forfeiture provision to the

extent it purports to forfeit Hambright's equitable title, UCC redemption right, or UCC surplus

right or effect a pre-agreed strict foreclosure; (3) the only property left with TitleMax at the pawn's

inception was the Vehicle's certificate of title (which has already been replaced once by TitleMax

and has not been assigned or endorsed by Hambright); (4) the Loan Agreement describes

TitleMax's interest in the Vehicle as a security interest; (5) the Loan Agreement treats the

certificate of title for the Vehicle and the Vehicle as separate property; (6) the undersigned's

predecessor held in In re Mattheiss, 214 B.R. 20, 30 (Bankr. N.D. Ala. 1997) (Stilson, J.) that a



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title lender out of possession holds only a non-possessory security interest in the vehicle (i.e., that

a vehicle is not a pledged good in a title loan transaction); and (7) the Alabama Court of Civil

Appeals has relied on Mattheiss to characterize a title lender's interest in a Vehicle (post-forfeiture)

as an unperfected, Article 9 security interest (not ownership). Harkness, 724 So. 2d at 33. In other

words, although TitleMax characterizes its interest in the Vehicle as an "executory interest,"

nothing in the parties' Agreement supports this characterization, and the rationales for allowing

forfeiture in conditional sale transactions and traditional pawn transactions make little sense in the

context of a non-purchase money loan transaction secured by a non-possessory security interest in

a valuable, movable asset.

       B.       The Discrete Issues

               i.      Defining What is and is not Binding Precedent

       So, why the need for such a long, belabored opinion?—because the federal judiciary follow

precedent, and, while the Alabama Supreme Court has not stated, in a holding or in dicta, that a

vehicle subject to a non-possessory security interest of a pawnbroker is a pledged good subject to

forfeiture under the Alabama Pawnshop Act, other courts have. For instance, some bankruptcy

courts and federal district courts in Alabama have adopted a theory of constructive possession to

characterize a vehicle in a pawnor's actual possession as in the constructive possession of the

pawnbroker, subjecting the vehicle to forfeiture as pledged goods under the Alabama Pawnshop

Act. See, e.g., TitleMax of Ala., Inc. v. Barnett, No. 5:20-CV-00181-CLM, 2021 WL 426218, at

*3 (N.D. Ala. Feb. 8, 2001) (Maze, J.); In re Thompson, 609 B.R. 443, 449-50) (M.D. Ala. 2019)

(Creswell, J.), aff'd, 621 B.R. 278 (M.D. Ala. 2020) (Huffaker, J.). As discussed more fully below,

this theory that finds its origin in the Alabama Supreme Court's recitation, in Floyd, of the trial

court's legal conclusions. However, under general commercial law principles, a debtor cannot be



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its lender's agent for purposes of constructive possession, and, in Coleman, the Alabama Supreme

Court expressly rejected a title lender's theory of constructive possession, calling into question the

viability of this theory. See Floyd, 620 So. 2d at 579; see also Coleman, 861 So. 2d at 1086. For

its part, TitleMax disclaims any theory of its constructive possession of the Vehicle in this

proceeding.

       On the other end of the spectrum is Mattheiss, 214 B.R. at 34-35, wherein the undersigned's

predecessor held that a title lender has only a non-possessory security interest in a vehicle in a title

loan transaction, requiring recordation of the title lender as lienholder on the vehicle's certificate

of title to perfect this security interest. Significantly, in an opinion agreed to by a majority of the

Court's Judges, the Alabama Court of Civil Appeals relied on Mattheiss to characterize a title

lender's interest in a vehicle (post-forfeiture) as an unperfected security interest. See Harkness,

724 So. 2d at 33. However, in two subsequent plurality decisions, the Alabama Court of Civil

Appeals has suggested, in dicta, that vehicles in title loan transactions are subject to

characterization as pledged goods under the Alabama Pawnshop Act. See, e.g., Pattans Ventures,

Inc. v. Williams, 959 So. 2d 115, 121-22 (Ala. Civ. App. 2006) (Judge Crawley authored the

opinion; Judges Murdock and Bryan concurred in the result, without writing; Judge Thompson

concurred in the result only, and filed a concurring opinion; and Judge Pittman joined in Judge

Thompson's concurrence); Morgan v. Thompson, 791 So. 2d at 977 (Judge Crawley authored the

opinion; Judge Thompson concurred; Judge Yates concurred in the result; and Judges Robertson

and Monroe concurred in the result only). The Eleventh Circuit has issued three decisions

characterizing vehicles in title loan transactions as pledged goods under Alabama's Pawnshop Act,

but none of these decisions are published, and the opinions offer little in the way of explanation

for this treatment. See In re Eldridge, No. 21-11457, 2021 WL 4129368, at *1 (11th Cir. Sept. 10,



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2021); In re Womack, No. 21-11476, 2021 WL 3856036, at *2-3 (11th Cir. Aug. 30, 2021) (per

curiam); In re Gunn, 317 Fed. App'x 883 (11th Cir. 2008).25

         Thus, the court must wade through the case law to identify what is and is not binding or

persuasive authority. Of course, "[n]ot all text within a judicial decision serves as precedent.

That's a role generally reserved only for holdings: the parts of a decision that focus on the legal

questions actually presented to and decided by the court." Bryan A. Garner, et al., THE LAW OF

JUDICIAL PRECEDENT § 4, at 44 (2016). "The distinction between a holding and a dictum doesn't

depend on whether the point was argued by counsel and deliberately considered by the court…,

but instead on whether the solution of the particular point was more or less necessary to

determining the issues involved in the case." Id. at 51. "Judicial opinions are always premised on

a series of assumptions about what the law is. Yet those assumptions—whether implicit or

explicit—aren't generally considered precedential. A decision's authority as precedent is limited

to the points of law raised by the record, considered by the court, and determined by the outcome.

The assumptions a court uses to reach a particular result do not themselves create new precedent

or strengthen existing precedent." Id. § 6, at 84. Only "if tacitly assumed rules or principles are

so essentially involved in the decision that the particular judgment couldn't logically have been

given without recognizing and applying them," do they become authoritative. Id. at 86.




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   In Gunn, the Circuit concluded that the Alabama Pawnshop Act does not prohibit extensions or renewals of a pawn
transaction's initial maturity date, such that that the title lender's "initial lien" on the debtor's vehicle remained valid
(entitling the title lender to a secured claim in the debtor's bankruptcy). 317 Fed. App'x at 887. In Womack, the Circuit
concluded that an Alabama title lender was subject to treatment as the holder of a modifiable secured claim because
the vehicle became property of the estate by virtue of the debtor's pre-default bankruptcy filing, rendering 108(b)
inapplicable. 2021 WL 3856036, at *2-3. And, in Eldridge the Circuit held that a belated renewal did not save the
parties' transaction from characterization as a pawn transaction and upheld the bankruptcy court's determination that
title passed upon the debtor's pre-bankruptcy failure to redeem. 2021 WL 4129368, at *3. It does not appear that the
question of whether a vehicle is properly characterized as a pledged good under the Alabama Pawnshop Act was
placed at issue in any of the foregoing cases.

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        Distinguishing between dicta and holdings is particularly important when construing the

text of a state statute, as illustrated by Carroll v. Lessee of Carroll, 57 U.S. (16 How.) 275 (1854).

In Carroll, the question before the United States Supreme Court was who owned lands acquired

by a testator after the execution of the testator's will. Id. at 279-80. The Court was asked to

consider the precedential weight of a decision of the Maryland Court of Appeals, wherein the state

appellate court made conclusory statements about the land and personalty devised and bequeathed

to the testator's wife by the testator's will (stating "she...with but trifling exception, took under the

will the whole estate"). Id. at 284-85. The Supreme Court concluded that the question of who

owned the land was immaterial to the state appellate court's decision (which denied a bill filed by

the executors of the wife's estate to enjoin the sale of enslaved persons devised to the testator's

wife in his will and manumitted by the wife's own will). 26 Id. at 286. Writing for the court, Justice

Benjamin Curtis explained:

        If the Court of Appeals had found it necessary to construe a statute of that State in
        order to decide upon the rights of parties subject to its judicial control, such a
        decision, deliberately made, might have been taken by this court as a basis on which
        to rest our judgment. But it must be remembered that we are bound to decide a
        question of local law, upon which the rights of parties depend, as well as every
        other question, as we find it ought to be decided. In making the examination
        preparatory to this finding, this court has followed two rules, one of which belongs
        to the common law, and the other is a part of our peculiar judicial system. The first
        is the maxim of the common law, stare decisis. The second grows out of the thirty-
        fourth section of the Judiciary Act, (1 Statutes at Large, 92,) which makes the laws
        of the several States the rules of decision in trials at the common law; and inasmuch
        as the States have committed to their respective judiciaries the power to construe
        and fix the meaning of the statutes passed by their legislatures, this court has taken
        such constructions as part of the law of the State, and has administered the law as
        thus construed. But this rule has grown up and been held with constant reference to
        the other rule, stare decisis; and it is only so far and in such cases as this latter rule
        can operate, that the other has any effect.

        If the construction put by the court of a State upon one of its statutes was not a
        matter in judgment, if it might have been decided either way without affecting any

26
  No enslaved person was a party to the case before the Supreme Court, and enslaved persons were not the subject of
the dispute in the case before the Supreme Court.

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       right brought into question, then, according to the principles of the common law,
       an opinion on such a question is not a decision. To make it so, there must have been
       an application of the judicial mind to the precise question necessary to be
       determined to fix the rights of the parties and decide to whom the property in
       contestation belongs.

       And therefore this court and other courts organized under the common law, has
       never held itself bound by any part of an opinion, in any case, which was not needful
       to the ascertainment of the right or title in question between the parties. In Cohens
       v. The State of Virginia, 6 Wheat. 399, this court was much pressed with some
       portion of its opinion in the case of Marbury v. Madison. And Mr. Chief Justice
       Marshall said, 'It is a maxim not to be disregarded that general expressions in every
       opinion are to be taken in connection with the case in which those expressions are
       used. If they go beyond the case they may be respected, but ought not to control the
       judgment in a subsequent suit, when the very point is presented. The reason of this
       maxim is obvious. The question actually before the court is investigated with care,
       and considered in its full extent; other principles which may serve to illustrate it are
       considered in their relation to the case decided, but their possible bearing on all
       other cases is seldom completely investigated.' The cases of Ex parte Christy, 3
       How. 292, and Jenness et al. v. Peck, 7 How. 612, are an illustration of the rule that
       any opinion given here or elsewhere cannot be relied on as a binding authority,
       unless the case called for its expression. Its weight of reason must depend on what
       it contains.

       With these views we cannot regard the opinion of the Court of Appeals as an
       authority on which we have a right to rest our judgment. We have already stated
       the reasons which have brought us to a different construction of the statute; reasons
       which do not seem to us to be shaken by the opinion of the Court of Appeals.

Carroll, 57 U.S. at 286-87. Thus, while it is true that today's dicta "may well be tomorrow's

binding precedent," see Garner, THE LAW OF JUDICIAL PRECEDENT § 4, at 69-70, federal courts

may not simply rely on unexplained or ill-explained dicta or assumptions when construing the

meaning of a state statute, as to do so would give greater weight to non-binding statements of

appellate judges than to valid enactments of the state legislature.

       Of course, not all holdings of other courts are binding on this court. Importantly, if this

court incorrectly characterizes statements made in Pattans or Morgan v. Thompson as dicta, the

statements nevertheless lack the weight of binding precedent because a majority of the Court's

judges did not join in the opinions' rationales, and plurality opinions of the Alabama appellate

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courts are not binding on questions of state law. See Entrekin v. Internal Med. Assocs. of Dothan,

P.A., 689 F.3d 1248, 1257-58 (11th Cir. 2012) ("The Alabama Supreme Court has held that '[a]s

a 'hornbook' principle of practice and procedure, no appellate pronouncement becomes binding on

inferior courts unless it has the concurrence of a majority of the Judges or Justices qualified to

decide the cause'…. A court's right to pronounce the law includes the right to decide which

pronouncements of its judges are law.") (internal citations omitted). Horizontal authorities (e.g.,

the decisions of other bankruptcy courts) also are not binding on this court. See 18 James W.

Moore, et al., MOORE'S FEDERAL PRACTICE § 134.02[d] (3d ed. 2011) ("A decision of a federal

district court judge is not binding precedent in either a different judicial district, the same judicial

district, or even upon the same judge in a different case.").27 And, unpublished opinions of the

Eleventh Circuit are not binding on this court. See 11th Cir. R. 36-2 (2021); see also Northington,

876 F.3d at 1317 n.1 (Wilson, J. dissenting) (noting that had a majority of the Northington panel

not selected the decision for publication, the precedential weight of the decision would have been

limited "to the 'particular' and 'peculiar' facts of the case"). This is not to say that the court can or

should simply disregard any of the foregoing authority, as they are persuasive authorities entitled

to due consideration by this court. However, the court is not persuaded that the cited persuasive

authorities provide a sufficient basis for this court to expand the Alabama Pawnshop Act's statutory

forfeiture provision to include a good subject only to a non-possessory security interest of a

pawnbroker. The Alabama Supreme Court's holding that a certificate of title is pledgeable



27
   A question exists as to whether decisions of individual district judges in multi-judge districts are binding on
bankruptcy courts. See, e.g., In re Hillsborough Holdings Corp., 127 F.3d 1398, 1403 n.3 (11th Cir. 1997) (stating
that "since the standard of review would not change either way, we see no reason to decide whether district court
decisions may constitute binding precedent for bankruptcy courts."). The court need not decide this issue as the only
federal district court case cited by TitleMax is Barnett, 2021 WL 426218, at *1, wherein the district court relied on a
theory of constructive possession to characterize the subject vehicle as a pledged good within the meaning of the
Alabama Pawnshop Act. See id. at *3-4. TitleMax has disclaimed any theory of its constructive possession of the
Vehicle in this proceeding, as such to the extent the district court's holding in Barnett is binding, it is not controlling.

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personalty is narrow, and the undersigned believes that the Alabama Supreme Court's statements

(in holdings and dicta) argue against (not in support of) application of the Alabama Pawnshop

Act's forfeiture provision to collateral subject to a pawnbroker's non-possessory security interest.

               ii.     The Alabama Case Law

       As set forth above, the Alabama Supreme Court first took up the question of whether title

loans could be characterized as pawn transactions under the Alabama Pawnshop Act in Floyd v.

Title Exch. & Pawn of Anniston, Inc., 620 So. 2d 576 (Ala. 1993). The Court, in Floyd, quoted

various conclusions of law entered by the trial court:

       A certificate of title is clearly, and is perhaps nothing more than, 'evidence of title.'
       It is prima facie evidence of ownership. It is not, at least under a traditional analysis,
       a chose in action—even in that term's broadest sense.

       Whether a certificate of title is 'tangible personal property' in a strict legal sense is
       also questionable, as it has no intrinsic value. However, it is clear to the court that
       the business transaction under review herein is not prohibited by the Act. The
       language of Act 92–597 is sufficiently broad to encompass the practice of allowing
       a customer to retain physical possession of the pledged property with the
       pawnbroker retaining 'constructive possession' through exercise of actual physical
       possession of a set of keys and the endorsed, negotiable certificate of title to it.
       Whether actual physical possession of the personal property itself is necessary to
       retain a perfected, superior lien in the property is not an issue before the court.

       Had the Legislature intended to prohibit the practice under review herein, it could
       have specifically so stated. Absent a clear legislative intent to prohibit such a
       practice, this Court [must] find that the practice is not proscribed by Act 92–597....
       [T]o make a previously lawful act unlawful, the Legislature would have to do so by
       clear, intentional language. No such language or intent appears within the four
       corners of the Act adopted.

Id. at 578-79. However, the court's own holding was narrower: "[W]e hold…that the legislature

has not prohibited the pawning of an automobile certificate of title." Id. at 576–77.

       Significantly, the Alabama Supreme Court agreed with the trial court that characterizing a

certificate of title as "tangible" personal property is questionable. See id. at 579 ("We agree with

the trial court that it is questionable whether an automobile certificate of title is 'tangible personal

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property,' as that term is generally understood, but we also agree with the trial court that an

automobile certificate is not a 'chose in action,' which the legislature specifically excluded from

the definition of 'pledged goods.'"). Generally speaking, quasi-intangibles (documents that take

on good-like qualities because of intangible rights bound up therein) are classified as intangibles,

not goods, under the Alabama UCC. See generally Ala. Code § 7-9A-102(a)(44). The Alabama

Supreme Court, when interpreting the Alabama Pawnshop Act, did not invoke the UCC

classifications of personal property. See Floyd, 620 So. 2d at 578 ("Our legislature did not

specifically state what it meant by the words 'tangible personal property' in the [Alabama

Pawnshop] Act, as the legislatures of some other states have done...'Tangible' means '[c]apable of

being touched and seen.' Black's Law Dictionary, 1456 (6th ed. 1990). 'Personal property' generally

includes 'all property other than real estate.'…Broadly speaking, 'property' includes 'every species

of valuable right and interest.'") (footnote omitted). In sum, the Court interpreted the Alabama

Pawnshop Act as requiring only that the pledged item be "property," that the pledged item be

capable of physical possession, and that it not be a chose in action, printed evidence of

indebtedness, or a security. Floyd, 620 So. 2d at 578.

       A paper certificate of title is capable of possession and susceptible to classification as

"property" because possession of it confers some benefit (at a minimum, the ability to impede the

record owner's transfer of record title). Although the Alabama Supreme Court offered no

explanation for its conclusion that a certificate of title is not a chose in action, it is presumably

because the certificate is, itself, pledgeable personalty (i.e., a pawnbroker can acquire an attached,

perfected security interest in the certificate by possession of the certificate, and possession of the

certificate gives the holder of the certificate some invulnerable interest in the right(s) represented

by the writing). As Gilmore explains, "rights arising under simple contracts and the like" (e.g.,



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contracts of construction, production, sale or service, not represented by negotiable instruments or

chattel paper, see Gilmore § 1.3, at 14) are "clearly non-pledgeable" choses in action, whereas

"instruments, documents and the like which are negotiable, quasi-negotiable or just a little bit

negotiable" are "clearly pledgeable" and, therefore, not choses in action. Id. § 1.3, at 16. Between

these two groupings stretches a "vague no-man's land of what may be loosely referred to as non-

negotiable choses in action." Id. Broadly speaking, a writing is not a chose in action (i.e., it is

pledgeable) if possession of the writing by the creditor will give the creditor an interest in the rights

represented by the writing which cannot be defeated by any interest subsequently created by the

pledgor. Gilmore § 1.3, at 12-13. Thus, this court does not construe the Alabama Supreme Court's

holding that a certificate of title is pledgeable to mean that a certificate of title pledge is a substitute

for a vehicle pledge under Alabama law.

        It bears mention that, in Floyd, the record reflected that the certificate was "endorsed" (i.e.,

the debtor had executed the assignment and warranty of title provision of the certificate). See

Floyd, 620 So. 2d at 578-79. In other words, the certificate itself evidenced a title transfer, and its

delivery in consideration of the loan was likely sufficient to give the title lender an attached

security interest in the vehicle (and the means of perfecting the pawnbroker's non-possessory

security interest by recordation). See Ala. Code § 7-9A-203. As the recordation of a secured

party's lien on a certificate of title, and the Alabama Department of Revenue's delivery of a tangible

certificate that records a lien to the first lienholder, are intended to render the secured party's

interests in the vehicle invulnerable, it is not hard to see how certificates of title escape

classification as choses in action; it does not follow, however, that possession of a certificate of

title is a substitute for possession of the covered vehicle under Alabama law. The value of a

certificate of title, as distinguished from the vehicle described therein, was laid bare by the Floyd



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trial court's observation that a certificate "has no intrinsic value." Floyd, 620 So. 2d at 578. Thus,

the trial court saw fit to adopt a theory of constructive possession (at odds with the general

commercial principles of agency discussed above) to bring the vehicle within the Alabama

Pawnshop Act's definition of pledged goods. The Alabama Supreme Court declined to go so far

and confined its holding to the pledgeability of the certificate itself, without discussing the

rights/interests in a vehicle transferred to a pawnbroker by the pledge or forfeiture of the vehicle's

certificate of title.

        It is also notable that the Alabama Supreme Court quoted the trial court as stating the court

was reticent to construe the Alabama Pawnshop Act as prohibiting the pawning of automobile

certificates of title because this would "make a previously lawful act unlawful." See id. at 579

(quoting the trial judge's conclusions of law). However, as discussed above, Alabama's prior pawn

statutes (which date as far back as the 1896 Code of Alabama and remained unchanged for close

to a century) did not provide for the automatic forfeiture of pawned items (and, in fact, permitted

the pawning of choses in action). Under the prior pawn statutes, the pawnbroker's sale of pawned

property was required to divest the pawnor of both legal and equitable title to property—i.e., until

sale by the pawnbroker (after the statutorily required notice to the pawnor), the pawnor retained

the right to redeem. As such, the Floyd trial court's express reticence (and the Alabama Supreme

Court's implied reticence) could not have been based on a concern that automatic forfeiture of a

vehicle in a title loan transaction was the expected consequence of a debtor/pawnor's default. It is

readily apparent that the dispute, in Floyd, was whether title loans were entirely excluded from the

Alabama Pawnshop Act and, therefore, subject to the licensure requirements and interest rate caps

of Alabama's Small Loan Act (which permitted interest charges of only two to three percent per

month, see id. at 578 no. 3-4), and not whether the Alabama Pawnshop Act's automatic forfeiture



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provision applies to vehicles that secure title loan transactions. Thus, under Floyd, an Alabama

title lender that does business as a pawnbroker may legally contract for and receive a monthly

pawnshop "charge" of up to 25 percent of the principal amount of a title loan ("in lieu of interest

or other charges for all services, expenses, costs, and losses of every nature"), provided the

pawnbroker waives recourse against the debtor personally and otherwise complies with the

requirements of the Alabama Pawnshop Act and any other applicable laws. See Ala. Code § 5-

19A-7(a), (b). However, it does not follow that, under Floyd, a vehicle in a title loan transaction

is subject to forfeiture as a pledged good under the Alabama Pawnshop Act.

         Significantly, in Ex parte Coleman, 861 So. 2d 1080 (Ala. 2003), the Alabama Supreme

Court went further and expressly rejected a title lender's argument that its possession of an

allegedly endorsed certificate gave it constructive possession of the vehicle covered thereby. In

Coleman, the Alabama Supreme Court reversed, in part, an Alabama Court of Civil Appeals

decision that affirmed (without opinion) a trial court's entry of summary judgment in favor of a

title lender/pawnbroker and two of its employees.28 Id. at 1081-82, 1086. Finding substantial


28
   The Colemans brought suit against The Money Tree Outlet, Inc., and two of its employees, following The Money
Tree's repossession of the Colemans' vehicle on January 4, 2000. Beginning in May 1999, the Colemans together,
and then Ms. Coleman singly, entered into a series of pawn transactions with The Money Tree. Id. at 1082. The
Colemans borrowed a total of $1,000.00 from The Money Tree. Id. At the time of each pawn transaction, the
Colemans, or Ms. Coleman, pledged the vehicle certificate of title to secure loan. The Colemans retained possession
of the vehicle. The stated maturity date of the final pawn ticket was December 5, 1999, and the 30-day grace period
to repay the pawn extended through January 4, 2000. Id. In the lawsuit, Ms. Coleman attested by affidavit that The
Money Tree, acting through its employee/agent, orally agreed to extend the maturity date of the pawn to January 4,
2000 and to allow her to renew the pawn on said date by paying $500.00 (i.e., the equivalent of two months' worth of
interest on the $1,000.00 debt). Ms. Coleman further attested that she attempted to pay $500.00 to renew the pawn
on January 4th but that The Money Tree's employees refused the payment and informed her that The Money Tree had
repossessed the vehicle. Id. at 1083. The Money Tree's records also recorded January 4, 2000 as the date of
repossession. Id. In the lawsuit, the Colemans alleged that The Money Tree had prematurely and wrongfully taken
possession of the vehicle before the expiration of the extended maturity date. Denying wrongdoing, The Money Tree
pointed to a provision of the operative pawn ticket prohibiting oral modifications and alleged that it took possession
on January 5, 2000 (not January 4th). Id. at 1084-85. The Money Tree also averred that its taking was not wrongful
because it already had constructive possession of the vehicle by virtue of its possession of the endorsed vehicle
certificate of title. The Money Tree moved for summary judgment on the Colemans' claims. The trial court granted
the motion, and, on appeal, the Alabama Court of Civil Appeals affirmed. Id. at 1082. The Supreme Court granted
the Colemans' petition for a writ of certiorari to determine whether the alleged oral agreement modified the written
pawn ticket. Id. at 1081.

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evidence of an oral agreement to extend the maturity date of the subject title loan, and of the title

lender's pre-default repossession of the vehicle securing the title loan,29 the court held that the

appellate court and trial court erred in entering summary judgment in favor of the title lender on

the vehicle owner's breach of contract and conversion claims. Id. at 1086. In rejecting the title

lender's argument that possession of the vehicle's allegedly endorsed certificate of title gave it

constructive possession of the vehicle (such that its repossession could not have been wrongful),

the Alabama Supreme Court reasoned:

         Relying on Floyd…the defendants argue that they already constructively possessed
         the Colemans' car and that, therefore, they could not have converted the Colemans'
         car. Their reliance on Floyd is inapposite. First, Floyd does not adopt the Floyd
         trial judge's opinion that a pawnbroker's possession of the keys and an endorsed
         title certificate to a car constitutes the pawnbroker's constructive possession of the
         car itself. Second, the record does not contain substantial evidence that the
         defendants before us possessed an endorsed title certificate, much less the keys, to
         the Colemans' car. Third, Floyd does not hold that a pawnbroker can legally
         repossess a pledgor's vehicle on or before the maturity date of a pawn transaction
         or that a pawnbroker can legally repossess a pledgor's vehicle within the 30-day
         grace period following the maturity of the pawn transaction. Floyd holds only that
         'an automobile certificate of title is 'tangible personal property' within the meaning
         of the Alabama Pawnshop Act,' and that "money-lending transactions involving the
         transfer of automobile certificates of title for the purpose of giving security are
         'pawn transactions.'" Blackmon v. Downey, 624 So. 2d 1374, 1376 (Ala. 1993).

Coleman, 861 So. 2d at 1085-86.

         Although the Supreme Court in Coleman, in its statement of procedural facts (see id. at

1081-82), referred to the parties' characterization of the transaction as a pawn of the vehicle, the

Alabama Supreme Court's holdings and reasoning in Coleman suggest that the Court's recitation

of the parties' treatment of the transaction as a vehicle pawn was intended merely as an




29
  Citing the rule allowing proof of an oral modification, notwithstanding a requirement that all changes to a contract
be made in writing, the Alabama Supreme Court determined that the Colemans had presented substantial evidence of
the existence of an oral agreement to extend the maturity date to January 4th. Id. at 1085. The Supreme Court further
determined that the Colemans had presented substantial evidence of the Colemans' performance (the tender of the
$500.00 double interest payment) and The Money Tree's breach (repossession on the maturity date). Id.

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acknowledgment that the vehicle undisputedly secured the title loan and that the title lender's

possession of the vehicle was not a prerequisite to characterizing the title loan as a pawn

transaction. Notably, in subsequent title loan cases, the Alabama Supreme Court has taken care to

describe a title lender's interest in a vehicle covered by a pledged certificate of title as a security

interest. See, e.g., Title Max of Birmingham, Inc. v. Edwards, 973 So. 2d 1050, 1051, 1053 (Ala.

2007).

         It is this court's opinion that the Coleman court's treatment of the title lender's vehicle

security interest as non-possessory, and the Coleman court's conclusion that the title lender had no

right to possession of the vehicle pre-default, suggests that the Alabama Supreme Court did not

consider the vehicle to have been pledged, only the vehicle's certificate of title. At a minimum,

by narrowly defining the Floyd holding as applying only to the subject certificate of title—not the

vehicle—the Alabama Supreme Court recognized that a vehicle and the vehicle's certificate of title

are separate property.

         Of course, whether the vehicle in Coleman was (or was not) a pledged good was not at

issue, nor was characterization of the transaction as a pawn transaction. So, as a matter of binding

precedent, Coleman does not definitively answer whether a vehicle in a title loan transaction is a

pledged good as the term is defined by the Alabama Pawnshop Act. However, as persuasive

authority, Coleman invites the conclusion that a title loan may be a pawn—and therefore a title

lender's rate of interest or charges are set by the Alabama Pawnshop Act—but also the conclusion

that the pledged good in a title loan transaction is only the certificate of title, not the vehicle. The

import of this, of course, is that the Alabama Pawnshop Act's forfeiture provision applies only to

pledged goods, and, if a vehicle in a title loan transaction is not a pledged good, the pawnbroker's

rights in and to the vehicle are governed by the Alabama UCC and Alabama's common law (to the



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extent not displaced by the Alabama UCC), which, as discussed above, invalidate any contractual

forfeiture provision in the Agreement that purports to forfeit Hambright's (now the Estate's)

equitable title or UCC redemption or surplus rights to TitleMax and require affirmative

enforcement action to indefeasibly vest legal title and equitable title to the Vehicle in TitleMax.

        Support for the court's conclusion that a vehicle in a title loan transaction is not a pledged

good subject to forfeiture is found in Harkness v. EZ Pawn Ala., Inc., 724 So. 2d 32 (Ala. Civ.

App. 1998), wherein, the Alabama Court of Civil Appeals, citing Judge Stilson's holding in

Mattheiss, concluded that title loans are subject to characterization as secured transactions under

Old Alabama Article 9 and that the Alabama Certificate of Title Act provides the exclusive method

of perfecting a security interest in a motor vehicle covered by the Act. Id. at 33. Notably, although

the factual recitations suggest that the redemption period for the final pawn transaction expired

long before the title lender's repossession (id. at 32-33), the court classified the lender's interest as

an unperfected security interest at the time of repossession—not absolute title. Id. at 33. As set

forth above, by definition and legal effect, a security interest is something less than absolute title.

TitleMax has averred it can acquire absolute title to the Vehicle before its security interest therein

is extinguished, and, if a vehicle in a title loan transaction is a pledged good, this might very well

be the case (as forfeiture is not a disposition or a post-default acceptance, and, therefore may not

extinguish a pawnbroker's Alabama Article 9A security interest in a pledged good). Unfortunately,

this means simply that the Harkness court's characterization of the subject title lender as a secured

party, and its interest as a security interest, does not definitively answer the question of whether a

vehicle is (or is not) a pledged good.

        TitleMax and some federal courts point to a subsequent Alabama Court of Civil Appeals

decision, Pattans, 959 So. 2d 115, to support treating a vehicle in a title loan as a pledged good



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notwithstanding the debtor's continued, actual possession of the vehicle. In Pattans, the court

stated that, at the time of the title lender's post-redemption period repossession, the pawnbroker

"merely took possession of a vehicle that legally belonged to it." Id. at 121-22. Because the court

cited to the automatic forfeiture provision, courts have treated this statement as a conclusion or

assumption that the vehicle, itself, was subject to classification as a pledged good. Notably, the

Pattans court did not expressly characterize the vehicle as a pledged good and also cited to

Harkness to support its conclusion that the title lender was entitled to repossess upon expiration of

the redemption period. Id. at 122, n.3. Furthermore, the result in Pattans— the setting aside of

the trial court's entry of a judgment for the value of the vehicle based on the creditor's sale of the

property in violation of section 5-19A-5(c) of the Alabama Pawnshop Act—did not depend on

legal or equitable title vesting in the pawnbroker prior to repossession. Id. at 123. In other words,

whether the vehicle had been forfeited or whether the creditor was merely enforcing its rights as a

secured party was not outcome determinative, meaning that characterization of the vehicle as

pledged good (to the extent Pattans can be so construed), without explanation or analysis, is mere

dicta. Absent any explanation as to why the opinion's author considered the vehicle a forfeited

pledged good (to the extent he did)—did the opinion's author rely on a theory of constructive

possession at odds with Coleman? did the judge regard the agreement as an executory agreement

to pledge that was perfected to an enforceable pledge upon repossession?—the utility of this dicta

(in this no majority case) is minimal. Additionally, as noted above, Pattans is a plurality opinion.

While on the same facts, a lower court may be required to reach the same result, the Pattans court's

rationale is not binding.

       Notably, in a case that pre-dates Coleman, the Alabama Court of Civil Appeals stated that

"title to" an automobile securing a title loan transaction "would have vested" in the pawnbroker



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upon expiration of the Alabama Pawnshop Act's redemption period, see Morgan v. Thompson, 791

So. 2d at 978, but it appears there was no dispute that the pawnbroker's interest would have ripened

to ownership but for the pre-forfeiture seizure of the vehicle by the state of Alabama. Id. As such,

no explanation is given for the statement, in dicta, that title "would have vested," and, like Pattans,

Morgan v. Thompson is a plurality opinion.

       In the most recent Court of Appeals decision to address title pawns, Complete Cash

Holdings, LLC v. Fryer, 297 So. 3d 1223 (Ala. Civ. App. 2019), characterization of vehicles in

title loan transactions as having been "pledged" was not at issue—the issue was whether a

pawnbroker/title lender had committed fraud on the court by petitioning for and obtaining

judgments against pawnors when the vehicles securing the pawns were lost, destroyed, withheld,

or sold by the pawnors. Notably, Complete Cash does not discuss the Alabama Pawnshop Act's

definition of pledged goods or state, in dicta or a holding, that vehicles in title loan transactions

are pledged goods within the meaning of the Act. To be sure, Complete Cash does not foreclose

characterization of vehicles as pledged goods within the meaning of the Alabama Pawnshop Act

and may be premised on an implicit assumption that they are, but Complete Cash is not binding

precedent on the legal question of whether a vehicle in a title loan transaction is or is not subject

to characterization as a pledged good.

       Importantly, the only significance the Alabama Supreme Court, in Coleman, expressly

attached to the pawnor's pledge of the vehicle's (allegedly) endorsed certificate of title was that,

post-forfeiture, the pawnbroker's remedy was to take possession of the vehicle described therein.

Coleman, 861 So. 2d at 1085-86. Of course, all secured parties with valid security interests in

vehicles have the state law right to take possession post-default, regardless of whether their

interests are regarded as legal title or mere liens (and regardless of whether their security interests



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are perfected and enforceable against non-debtor third parties). It is federal law that enjoins such

affirmative actions and allows for avoidance or subordination of unperfected security interest for

the benefit of unsecured creditors. Further, having waived recourse against Hambright personally,

TitleMax must look to its collateral to satisfy the Loan outside of bankruptcy.

                iii.    The Court's Answer to the Determinative State Law Question

        Ultimately, the Alabama Pawnshop Act requires a pawnbroker's possession of pledged

goods and a pawnor's dispossession of pledged goods. TitleMax concedes that all it ever had in

its possession was a certificate of title for the Vehicle, and it does not argue in this proceeding that

its possession of the certificate of title gave it constructive possession of the Vehicle. Moreover,

TitleMax does not explicitly argue that the parties could effect a pre-agreed forfeiture of

Hambright's UCC rights, or common law equitable title, by contract, and, to the extent it has

implicitly so alleged, the court concludes otherwise.

        There also is no allegation that Hambright executed the assignment and warranty of title

section of the operative certificate (i.e., there is no allegation that the record owner, Hambright,

endorsed the Replacement Certificate). And, even if the certificate were endorsed, the record itself

would be no more than a chattel mortgage, given that it was delivered as security for a loan, and

not in connection with a sale. Such a record's forfeiture could give no more rights to a pawnbroker

than a common law chattel mortgagee out of possession would have upon default. Undoubtedly,

there is value to a secured creditor in possessing a certificate of title for a vehicle in which it holds

a security interest—which is likely why the Alabama Supreme Court afforded quasi-good status

to certificates of title in holding that certificates of title are not choses in action but are pledgeable

property, in their own right. By statute, the record is TitleMax's to possess (if maintained in

tangible form) for so long as it remains a lienholder under the Alabama Certificate of Title Act.



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However, this court finds little in the way of persuasive authority and nothing in the way of binding

authority to support the conclusion that forfeiture of an unassigned certificate effects an absolute

title transfer to the vehicle described therein.

        One need look no further than certain of the factual scenarios recited in Complete Cash,

and holdings such as Matheiss, to understand why title lenders began perfecting their security

interests in vehicles securing title loan transactions, instead of obtaining and maintaining

possession of endorsed certificates of title. But, as title loan transactions in Alabama have evolved

to look more and more like other non-recourse, non-possessory, secured credit transactions—with

pawnbrokers not retaining possession of the purportedly pledged certificates (instead relinquishing

them to the Alabama Department of Revenue, notwithstanding the possessory requirements of the

Alabama Pawn Shop Act) or obtaining valid assignments of the pledged certificates—the

undersigned is of the opinion that courts should take care not to conflate the Alabama Supreme

Court's holding that a paper certificate of title is pledgeable personalty with an implicit holding

that all vehicles in all title loan transactions are pledged goods subject to forfeiture on the Alabama

Pawnshop Act. Therefore, this court will confine the Alabama Supreme Court's holdings to what

it has said—that is, until the Alabama legislature says otherwise, a title lender that is a licensed

pawnbroker can charge interest of 25 percent per month (absent another applicable statutory

limitation on interest) so long as the vehicle's tangible certificate of title is delivered to the

pawnbroker and maintained in tangible form for the duration of the pawn, the title lender acquires

a security interest in the covered vehicle, the loan is non-recourse, and the pawnbroker otherwise

satisfies the requirements of the Alabama Pawnshop Act.

        The fact that the result in Alabama is different than in Georgia (the subject of Northington)

is expected, as Georgia's laws are materially different. Another state's materially different pawn



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statutes do not control this court's interpretation of the Alabama Pawnshop Act (or permit this

court to read ambiguity into the Act's provisions where no such ambiguities exist), and,

importantly, the Alabama legislature has not seen fit to expand the Alabama Pawnshop Act's

definition of pledged goods to encompass any goods subject to non-possessory security interests.

Of course, the Alabama legislature also has not followed the lead of Florida and other states and

amended the Alabama Pawnshop Act to categorically exclude certificates of title from the Act's

definition of pledged goods. This means title loans may be pawns in Alabama, but it does not

mean that vehicles in title loan transactions are pledged goods within the meaning of the Alabama

Pawnshop Act.

       It also bears mention that the court's state law conclusions do not deny TitleMax of the

benefit of its bargain. If the Vehicle is not a "pledged good," this simply means that TitleMax's

interest in the Vehicle is a non-possessory, non-purchase money security interest subject to the

provisions of Alabama Article 9, the Alabama common law (to the extent not displaced), the

Alabama Certificate of Title Act, and any other applicable state laws. TitleMax has not lost its

investment by this ruling, merely its claim to Hambright's (now the Estate's) equity in the Vehicle

(if any). The court is not unmasking TitleMax's security interest or looking to the substance of the

transaction to disregard the form. The court is simply concluding that, in substance, TitleMax's

interest in the Vehicle is precisely what the TitleMax and Hambright called it, and treated it as, in

the Agreement—a non-possessory, non-purchase money, security interest.

       Admittedly, there may be a compelling rationale for treating vehicles as pledged goods

subject to forfeiture within the meaning of the Alabama Pawnshop Act; however, the undersigned,

for her part, cannot articulate one. Forfeiture of collateral to a secured party in a secured credit

transaction governed by Alabama Article 9A is the exception, not the rule, and the court finds no



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conflict in recognizing a debtor's common law and UCC rights and property interest(s) in and to a

vehicle in a title loan transaction if only the certificate, not the vehicle, is the pledged good. Stated

another way, the court is not persuaded that the Alabama Pawnshop Act's codified, limited

exception to the anti-forfeiture provisions of the Alabama UCC and anti-forfeiture rules of the

Alabama common law apply to a vehicle in a title loan transaction absent the pawnor's

dispossession of the vehicle and the pawnbroker's possession of the vehicle (be it actual or

constructive). Since the Vehicle (as distinguished from the Replacement Certificate) is not a

pledged good, the Alabama Pawnshop Act's statutory forfeiture provision is inapplicable to the

Estate's rights to and property interest in the Vehicle, and the Alabama UCC, Alabama Certificate

of Title Act, and (nondisplaced) common law of Alabama govern—meaning (1) legal title to the

Vehicle will not indefeasibly vest in TitleMax at law until TitleMax repossesses the Vehicle (at

the earliest); (2) the Estate's equitable title and Alabama UCC right of redemption continue until

foreclosure; and (3) TitleMax must account to the Estate or Hambright for any surplus realized

upon foreclosure. As both repossession and foreclosure remain stayed by Bankruptcy Code

section 362(a), the petition date status quo is preserved by the Bankruptcy Code.

         No single statute or rule or case will answer every question in every case, and, here, one

must view the secured credit transaction through the lens that forfeiture has long been the

exception, not the rule. Further, the Bankruptcy Code protects debtors and bankruptcy estates

from losses of rights to and interests in collateral in significant ways, even where state law does

not.

                iv.     The Unanswered Questions

        If the undersigned's conclusion that the Vehicle is not a pledged good subject to forfeiture

under the Alabama Pawnshop Act is erroneous—i.e., if a vehicle in a pawnor's possession is



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subject to characterization as a pledged good under the Act (as some federal bankruptcy and district

judges in Alabama have held and as the Eleventh Circuit has accepted, and perhaps even impliedly

held, in unpublished opinions)—or if the court concludes, in error, that forfeiture of an unassigned

certificate of title, alone, does not effect an absolute title transfer to the vehicle covered by the

certificate as a matter of applicable state, the post-petition forfeiture does not necessarily save

TitleMax from treatment as the holder of a secured claim in Hambright's bankruptcy case, nor does

the state law forfeiture necessarily give TitleMax inviolable rights to the Vehicle's equity. The

Estate's acquisition of Hambright's rights to and property interest in the Vehicle, pre-forfeiture,

may render the state law forfeiture provision inapplicable to the Estate's property or otherwise

entitle Hambright to treat TitleMax as the holder of a secured claim in her bankruptcy post-

forfeiture, as the Eleventh Circuit recently held in an unpublished, panel decision. See Womack,

2021 WL 3856036, at *1.

       Further, even assuming the Estate's rights to and property interest in the Vehicle were

subject to forfeiture, and that forfeiture occurred post-petition, the post-petition forfeiture effected

a post-petition transfer of the Estate's rights to and property interest(s) in the Vehicle to TitleMax.

This is because, absent repossession, foreclosure, or a voluntary (post-default) transfer, forfeiture

is the only mode by which TitleMax could acquire vested legal title and acquire or extinguish the

Estate's non-temporal (equitable and statutory) redemption rights (as well as the Estate's UCC

surplus right) under Alabama law. The post-petition transfer (if one occurred) might not be void

as violative of the stay, since it required no affirmative act by TitleMax. However, the forfeiture

might, nevertheless, be avoidable if it is not authorized by the Bankruptcy Code or court order, as

Hambright and the Trustee have alleged.




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       In Northington, the Eleventh Circuit unequivocally held that the post-petition, pre-

confirmation expiration of a chapter 13 debtor's temporal right to redeem a vehicle from a Georgia

title lender foreclosed treatment of the lender as the holder of a secured claim in the debtor's plan.

However, Northington does not answer the question of whether a post-petition forfeiture to a title

lender under Alabama law is an authorized post-petition transfer, nor does Northington answer the

question of what (pre-forfeiture) rights and interests a bankruptcy estate acquires from a pawnor

in a title loan transaction under Alabama law (as Womack evidences). As discussed above, in

Northington, the Circuit concluded or assumed that title passed to the Georgia pawnbroker pre-

bankruptcy (and pre-forfeiture), such that all that the estate acquired on the petition date (and

thereafter "lost") was a temporal, statutory right to regain title. In other words, the debtor/pawnor's

temporary right to redeem the vehicle under Georgia's pawn statutes entered the estate, but not

legal or equitable title to the vehicle. When the statutory right met its natural (albeit temporarily

extended) expiration date, the estate was left with only with a bare possessory interest under

Georgia law. Where a state pawn statute's automatic forfeiture provision divests a bankruptcy

estate of an interest in property—i.e., forfeiture does not simply mark the expiration of a statutory

grace period for repaying a loan on security of pledged goods; it is the mode by which a bankruptcy

estate's rights to and property interest(s) in pledged good(s) are passed to a pawnbroker or

extinguished—the forfeiture effects a transfer. This is because any mode by which a bankruptcy

estate is divested of property or an interest in property is a transfer. The Bankruptcy Code's

definition of transfer has no affirmative act requirement. And, as discussed above, the Eleventh

Circuit's conclusion in Northington that the exceptions to section 541(b)(8)'s exclusion do not

indefinitely toll an estate's temporal redemption rights in pledged good(s), should not be

understood to mean that the exceptions to the exclusion are of no import in bankruptcy.



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         Here, the question of the alleged transfer's voidability has been placed at issue (AP Doc.

29 at 14-18), but there is no pending request (in this adversary proceeding)30 to avoid the alleged,

post-petition transfer; therefore, the court does not herein decide the issue. However, it is

important to note that, if forfeiture of the Vehicle to TitleMax occurred, affirmative acts to give

effect to the transfer (like repossession) may remain stayed by operation of Bankruptcy Code

section 362(a), because avoidance of the allegedly unauthorized, post-petition transfer is all that is

required to return TitleMax and the Estate to the petition date status quo. Repossession, on the

other hand, would necessitate an adversary proceeding to recover the Vehicle from TitleMax or its

transferee, i.e., repossession may be a taking of property "from the" estate even if it is not a taking

of property "of the" estate, as well as an act to collect a pre-petition claim. See 11 U.S.C. §

362(a)(3), (6).

         Furthermore, even if the alleged forfeiture occurred and is not avoidable, Hambright, on

behalf of the Estate, retains a contractual right to possess the Vehicle (post-forfeiture) that

continues until TitleMax exercises its state law right to take possession. This means the Estate's

possessory interest is not "bare" as a matter of state law. Because the Estate (care of Hambright)

retains the contractual right to possess the Vehicle until TitleMax repossesses, the Estate's

possessory interest may also be protected by the stay of Bankruptcy Code Section 362(a).




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  Hambright's chapter 13 plan proposes to treat TitleMax as the holder of a secured claim and to vest title to the
Vehicle in Hambright upon discharge. (See BK Doc. 41.) If confirmed, the plan might have the effect of avoiding
the transfer, since Hambright has possession of the Vehicle and, therefore, an adversary proceeding to recover the
property or its value may be unnecessary. See generally Fed. R. Bankr. P. 7001(1). Notably, even if avoidance of the
post-petition transfer is an adversary proceeding under Fed. R. Bankr. P. 7001(2), confirmation of a chapter 13 plan
that effects an avoidance may still bind the parties. Dudley v. Buffalo Rock Co., No. 2:19-cv-00519-RDP, 2021 WL
1164380, at *4 (N.D. Ala. Mar. 26, 2021) (Proctor, J.). Accordingly, the court asked the parties to address the transfer's
voidability at a preliminary hearing in this proceeding. However, there is no pending claim for avoidance of the post-
petition transfer in this adversary proceeding, and the legality of Hambright's proposed plan is not presently before
the court.

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V.      Conclusion

       Based on the foregoing, it is ORDERED that the motion for summary judgment filed by

Hambright and the Trustee is granted, and the motion for summary judgment filed by TitleMax is

denied, and a separate judgment shall enter determining and declaring that the Estate retains

property rights and interests in the Vehicle; that TitleMax holds a valid, perfected first priority lien

on the Vehicle; and that Hambright is entitled to treat TitleMax as the holder of a claim secured

by a lien on the Vehicle in Hambright's bankruptcy case. As the judgment adjudicates all claims

in the Complaint, the judgment shall be designated a final judgment.

       DATED this the 19th day of November, 2021.

                                                       /s/ JENNIFER H. HENDERSON
                                                       UNITED STATES BANKRUPTCY JUDGE




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